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                        EXHIBIT 3
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                          D’MARCO CRAFT, AND
                          MICHAELE JACKSON,
                                  PLAINTIFFS,

                                       V.


                    RICHARD BILLINGSLEA,
             HAKEEM J. PATTERSON, YOSSIF MANA,
          ANTOINE HILL, GLENN BINES, DAVID MAYS, II,
        NAIM BROWN, MICHAEL BAILEY, RANDALL CRAIG,
                      BRYAN MOORE, AND
         THE CITY OF DETROIT, A POLITICAL SUBDIVISION
                 OF THE STATE OF MICHIGAN,
                                 DEFENDANTS.



                             IN THE
                  UNITED STATES DISTRICT COURT
                                   FOR THE
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
                   CASE NUMBER: 2:17-CV-12752-GAD-MKM



                   RULE 26(a) REPORT OF STEVEN D. ASHLEY
                                 AUGUST 22, 2019
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                                             Provisos


    Gender Specificity: Unless referring – in context – to a specific individual, the use of
          masculine or feminine pronouns, i.e., he, she, her, his, etc., in this document is not
          intended to be gender specific.
    Contemporaneous Context: Unless otherwise noted, identifying a reference in this report
          in the current context, i.e., is, is not meant to imply that the same reference was
          not identified in a past context, i.e., was, contemporaneous to the events being
          discussed.
    Timing Calculations: Calculations of timing are based on any running on-screen display
          (OSD) clocks. Absent running OSD clocks, timing calculations are drawn from
          on-screen clocks incorporated into playback software, and are approximated to
          one second, to 1⁄10 or 1⁄100 of a second, accordingly.
    Time Convention: Various case-related documents in the record may utilize standard
          time nomenclature, while others may utilize military time nomenclature. For
          example, 10:30:45 pm – or 10:30 pm and 45 seconds – converted to military time
          is equivalent to 22:30:45 hours. Similarly, some military times in the record may
          be expressed in a slightly revised format (but with no difference in meaning),
          e.g., 2230:45. Additionally, tenths or hundredths of a second will be expressed in
          decimal, e.g., 22:30:45.01.
    Bracketed Comments: Unless otherwise noted, comments and information appearing in
           brackets – particularly in conjunction with quoted text passages – have been
           inserted by the author of this report, to assist the reader, or to aid in clarity.




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


     D’MARCO CRAFT, and                              §
     MICHAELE JACKSON,                               §
                                                     §
                       Plaintiffs,                   §
                                                     §
     v.                                              §         Case No. 2:17-cv-12752-GAD-MKM
                                                     §
     RICHARD BILLINGSLEA, et al.,                    §
                                                     §
                       Defendants.                   §



                                 RULE 26(a) REPORT OF STEVEN D. ASHLEY
                                        SUBMITTED: AUGUST 22, 2019


    1. DECLARATION OF STEVEN D. ASHLEY.
          I, Steven D. Ashley, being of legal age and under penalty of perjury, state as follows:
             1. I am a competent adult and have personal knowledge of the following facts, or
                believe them to be true based on information and belief. Facts about which I
                do not have personal knowledge are of the type reasonably relied upon by
                experts in this field and have probative value to me in rendering my opinions.
             2. Attached hereto is a true and accurate copy of my expert report in this
                litigation.
             3. This report summarizes my analyses and findings and includes a statement of
                my opinions. The report also includes facts or data considered by me in
                forming my opinions and sets out my qualifications (including my curriculum
                vitae).
             4. My opinions are expressed to a reasonable, or higher, degree of professional
                certainty.
             5. I affirm under penalty of perjury that the foregoing statements are true and
                correct.



            August 22, 2019
                  DATE                                     STEVEN D. ASHLEY, MSC, MLS, ARM/P, AFSS, INCI
                                                                         MONROE, MICHIGAN




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    2. INTRODUCTORY STATEMENTS.
           The following introductory statements apply to this entire report, including any
           attached exhibits, which are to be incorporated as integral parts thereof. Some of
           these introductory statements may be reiterated in the body of this report.
           Not Legal Advice or the Practice of Law. The expert services rendered in this case
           and this document are not legal advice, and are not to be construed, in any way, as the
           practice of law.
           Report Focus. This report is focused solely on the incident captioned and related
           concerns and/or issues.
           Case Specific Limitation. Any actions, statements, writings, this report, information,
           any testimony, etc., are specifically limited to this case.
           Expert Capacity. This report and any subsequent reports, testimony, opinions, etc.,
           are within my capacity as an independent criminal justice and governmental risk
           management expert.
           Right to Amend. The opinions in this report are living opinions. That is, should
           additional discovery material be received, and/or additional research be completed,
           and then reviewed, these opinions may be altered and/or reinforced depending upon
           what information is obtained, reviewed, considered, and/or studied.
           Further Development. The opinions expressed in this report are not necessarily final
           in nature. Rather, they are listed to comply with current report requests. Each opinion
           may be further developed through research, investigation, during deposition, and/or
           trial testimony.
           Specific References. Some of the opinions in this report may list specific references to
           some of the documents reviewed and/or considered. These listings are not intended to
           be all inclusive. I specifically reserve the right to supplement the support for each of
           the opinions in this report.
           Newly Identified Issues. If new issues are opined, identified, and/or developed
           subsequent to submission of this report, I reserve the right to supplement this report.
           Degree of Certainty. All opinions stated in this report are in direct regard to the case
           captioned, and the underlying incident or events leading to this case, and are
           expressed to a reasonable, or higher, degree of professional certainty and/or
           probability.
           Discussions and Explanations of Underlying Issues. Any discussion or explanation of
           underlying issues is intended to assist the reader with understanding some of the
           concepts that inform my opinions in this matter. They reflect my applicable skills and
           knowledge, as gained through my experience, education, and training.
           Credibility Determinations. It is not my intent to make any credibility determinations
           in developing my opinions in this case.1



    1
        I understand that credibility determinations are solely and exclusively within the province of the trier of
        fact, as instructed by the Judge.

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    3. EXECUTIVE SUMMARY.
           My name is Steven D. Ashley. I was contacted and ultimately engaged in the above
           captioned matter – for the purpose of providing review, analysis, and
           opinions – regarding allegations made against former Detroit Police Officer Richard
           Billingslea.2
           Incident Synopsis.3 During the very early morning hours of May 31, 2017,
           Mr. D’Marco Craft and Mr. Michaele Jackson, drove to a gas station/convenience
           mart on Harper Avenue in Detroit, ostensibly for the purpose of purchasing cigarettes.
           When they arrived there were two police officers at the convenience mart. There
           ensued an extended altercation between Craft and Jackson and several members of
           the Detroit Police Department. During this interaction, Mr. Craft was placed in
           handcuffs, and secured in a police vehicle, while Mr. Jackson was arrested following
           a physical altercation with Officer Billingslea inside the convenience mart.
           After a period of time, Mr. Craft was released. Another officer took his iPhone as
           evidence, due to a recording that he had made of part of the incident.
           Opinions in Brief. For the reasons set forth in this report, and to a reasonable – or
           higher – degree of professional certainty, I hold the following opinions.4
           1. It is my opinion that the use of force and control by Detroit Police Officer Richard
              Billingslea, was based upon his perception that Michaele Jackson had assaulted
              him [Billingslea], had refused to comply with commands, and that he then
              physically resisted Billingslea’s attempts to gain compliance and control.
           2. It is my opinion that trained and experienced officers are likely to logically
              conclude that the reported actions of Michaele Jackson posed a threat or risk of
              serious injury or death to officers and others in the area.
           3. Further, it is my opinion that police officers who do so conclude, would likely
              determine that it was necessary to use force and control methods in order for
              Billingslea to reduce the likelihood of serious injury or death to himself and that it
              would be logical and appropriate for them to reach that conclusion, considering
              their training and experience.
           4. It is also my opinion that it is logical and appropriate to conclude that many of
              those officers, when faced with the same – or a substantially similar – situation as
              that reported by Officer Billingslea, would likely act in the same, or a similar,
              way as he did.
           5. It is my opinion that, if similarly trained and experienced, and faced with the same
              or similar reported circumstances, other reasonable police officers would believe

    2
      At the time of the events that gave rise to the instant case, Richard Billingslea was a police officer for the
      City of Detroit, Michigan. Mr. Billingslea is no longer employed by the City of Detroit. In the interest of
      clarity and brevity, Mr. Billingslea will be referred to as Officer Billingslea throughout this report.
    3
      This is intended to be a very brief synopsis of general events, as reported by officers and others. A more
      detailed version of my understanding of events that reportedly occurred is included, infra.
    4
      I hold any statements of opinion made here, or elsewhere in the body of this report, to a reasonable – or
      higher – degree of professional certainty, based upon my skill and/or knowledge, as gained through my
      education, experience, and/or training.

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                that the conduct and actions of Officer Billingslea were lawful in placing
                Michaele Jackson under arrest for assault, and resisting arrest.
            6. It is my opinion that, if similarly trained and experienced, and faced with the same
               or similar reported circumstances, other reasonable police officers would believe
               that the conduct and actions of Officer Billingslea were lawful in using what force
               and control methods he did in his attempt to arrest and control Michaele Jackson.
            7. It is my opinion that, if similarly trained and experienced, and faced with the same
               or similar reported circumstances, other reasonable police officers would believe
               that the conduct and actions of Officer Billingslea were lawful in preventing Craft
               and/or Jackson from entering the convenience mart, while the other remained
               outside, thereby splitting the attention of the two officers, and putting them in a
               tactically disadvantageous situation, contrary to typical officer safety training and
               protocols.
            8. It is my opinion that Officer Billingslea’s perceptions regarding the use of force
               were consistent with known human factors research.
            9. It is my opinion that the later actions of Officer Billingslea regarding medical
               treatment for Michaele Jackson following the encounter were logical and
               appropriate, given the circumstances.
            A reiterated statement of these opinions is set forth later in this report.5

     4. EXPERT QUALIFICATIONS.6
            Introduction to Qualifications. This report is provided based upon my personal and
            professional skill, knowledge, experience, education, and/or training, in and of the
            law enforcement, corrections, security, criminal justice, governmental service, and
            risk management fields, over the past 44 years and more.
            I am a retired law enforcement officer, formerly employed as a full-time, sworn
            police officer, deputy sheriff, and law enforcement supervisor, trainer, and manager.
            As such, I have supervised and instructed law enforcement, security, and corrections
            officers – as well as supervisors, managers, and executives – in the performance of
            their duties, to include, inter alia, arrest, restraints, use of force and deadly force,
            conducted energy weapons, motor vehicle operations, corrections operations, and the
            training, supervision, and management of other criminal justice and municipal
            professionals, and trainers.
            Credentials in Brief. More specifically, I served for 15 years as a professional law
            enforcement officer, trainer, and manager, with approximately one-half of that time as
            a supervisor, field supervisor, and manager. In addition to my certification as a
            Michigan police officer, I earned four Advanced Police Officer Training certificates,
            three Police Management Development certificates, and one Police Supervisor




     5
         Other statements of opinion may be incorporated into the body of this report.
     6
         My detailed Curriculum Vitae is attached to this report as Exhibit II.

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            Development certificate, from the Michigan Law Enforcement Officers Training
            Council.7
            Subsequently, I served for 12 years as a full-time, credentialed, governmental risk
            manager. In that capacity, I counseled municipalities, municipal insurance pools, and
            other government entities – throughout the United States – on managing the risks of
            employee injuries and litigation, particularly as regards law enforcement and jail
            training, operations, and management.
            Formal Education. I earned and was awarded a Bachelor of Arts Degree in
            Communication Arts, and a Master of Science Degree in Criminal Justice, from
            Michigan State University. Additionally, I earned and was awarded a Master of
            Liberal Studies Degree in Interdisciplinary Technology – with criminal justice
            focus – from Eastern Michigan University, graduating with a perfect academic
            record. I am a graduate of the Northwestern University School of Police Staff and
            Command, again with a perfect academic record. I completed and earned professional
            designations as an Associate in Risk Management, and as an Associate in Risk
            Management for Public Entities, from the Insurance Institute of America.8 I
            successfully completed police academy training and earned certification as a
            Michigan police officer.
            Training Completed and Certifications Earned. I have attended and successfully
            completed more than 6,000 hours of law enforcement, corrections, criminal justice,
            and public entity, operational and risk management related training. Much of my
            training has been – and is – of an advanced nature, and includes more than 50 law
            enforcement instructor, instructor-trainer, and Master instructor-trainer9 certification
            courses. These advanced- and instructor-level courses include, inter alia, firearms,
            defensive tactics, officer safety and survival, aerosol weapons, impact weapons,
            handcuffing, weapon retention and disarming techniques, conducted energy
            weapons,10 use of force, police driving, pursuit driving, emergency vehicle
            operations, and policy development.
            I have been trained and certified as a TASER Senior Master Instructor,11 by TASER
            International,12 and hold a Master Use of Force Instructor™ certification from the

     7
       MLEOTC, now formally renamed MCOLES (Michigan Commission on Law Enforcement Standards), is
        the state-mandated law enforcement certifying entity in Michigan.
     8
       The Insurance Institute of America (IIA) was rebranded as The Institutes in 2009. The Institutes is the
        insurance industry’s primary credentialing organization.
     9
       Instructor-trainer courses are often referred to as train-the-trainer courses; Master Instructor-Trainers
        typically train other instructor-trainers.
     10
         Conducted energy weapons are sometimes referred to as electronic control devices, conducted electronic
         devices, and other similar classifications. In some cases, the brand-name TASER is inappropriately
         applied as a generic reference. Generally – and in the context of this report – all of these terms have the
         same, or a similar, meaning.
     11
         As such, I have trained hundreds of TASER Instructors, and hundreds of TASER Master Instructors
         (instructor-trainers), as well as TASER end-users. Notably, I trained TASER Master Instructors on
         downloads and the interpretation of same. Additionally, as part of the TASER, International, Quality
         Assurance Program, I was chosen to provide quality assurance oversight and review of TASER Master
         Instructors, as they presented instructor courses, at numerous locations across the United States.
     12
         TASER, International, Inc., has been rebranded AXON Enterprise, Inc.

         REPORT – STEVEN D. ASHLEY           TOC          PAGE 5       CASE NO. 2:17-CV-12752-GAD-MKM – 08/22/2019
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          Police Policy Studies Council®, as well as a Master Force and Control Instructor™
          certification from the Smith & Wesson Academy®.13 I am an IADLEST® Nationally
          Certified Instructor (INCI)™, certified as a Charter INCI Member by the
          International Association of Directors of Law Enforcement Standards and Training.14
          I am a Certified Force Science Analyst™, and an Advanced Force Science
          Specialist™, trained by the Force Science Institute®, and am an Instructor Graduate of
          the Law of Self Defense™ Instructor Program, presented by the Law of Self Defense
          Institute®. I successfully completed both the Federal Driving Instructor Training
          Program and the Federal Firearms Instructor Training Program, conducted by and at
          the Federal Law Enforcement Training Center.
          Training Delivered. I have taught law enforcement, corrections, security, and
          criminal justice, courses at colleges, universities, civic organizations, and law
          enforcement agencies, throughout the United States. I have been an invited presenter
          on a broad range of law enforcement, security, corrections, and risk management
          topics, at numerous state, regional, national, and international conferences. Among
          the many topics I have taught – and upon which I have presented – are law
          enforcement and jail operations, policies and procedures, civil rights, arrest tactics,
          officer safety, use of force and deadly force, use of force management, training
          management, law enforcement driving, conducted energy weapons, law enforcement
          liability, and jail liability.15
          Prior to my retirement after 22 years of service, I was the Use of Force Coordinator,
          Chief Firearms - Use of Force Instructor, and Chief Driving Instructor, for a
          college-based police academy. As such – along with program and curriculum
          development and oversight – one of my primary tasks was to train and certify
          use-of-force, firearms, and police driving instructors. Since 1976, I have personally
          delivered over 15,000 hours of training to more than 16,500 officers, trainers,
          supervisors, and managers.
          Risk Management. As a credentialed risk manager, I have personally conducted more
          than 400 detailed – on-site – risk management reviews of law enforcement agencies
          and detention facilities, and have completed in-depth critical reviews of more than
          500 law enforcement policy and procedure manuals16 from law enforcement agencies


     13
        This credential is sometimes referred to as a Master Use of Force Instructor certification.
     14
        From the IADLEST.org website, “IADLEST is an association of standards and training managers and
        leaders. Its primary focus is criminal justice standards and training. To the extent that the focus and the
        values promoted thereby can be furthered and shared, all training professionals are welcome as
        members. The mission of IADLEST is to research, develop, and share information, ideas and innovations
        which assist states in establishing effective and defensible standards for employment and training of law
        enforcement officers, and, in those states where dual responsibility exists, correctional personnel.”
        Accessed and retrieved by Steve Ashley on 28 May 2018.
     15
        Training related to legal issues and constructs is presented from an informed lay-person’s perspective.
     16
        Operating manuals for criminal justice agencies are identified in many different ways: common naming
        conventions include, inter alia, policies, procedures, policies and procedures, rules and regulations,
        general orders, operating guidelines, standard operating procedures, and directives. Colloquially, these
        documents are often referred to as policies. In some contexts, rules and regulations are considered to be
        more oriented toward workplace rules, while policies and procedures are intended more as procedural

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         and jails located across the United States. These risk management and manual
         reviews routinely and frequently result in documented recommendations for
         improvement. In many cases, compliance with my recommendations has been
         mandated by municipalities’ insurance carriers.
         I have served on – as well as conceived, formulated, mentored, and
         managed – subject matter expert (SME) panels. The objective of said SME panels
         was the development of sample policies and suggested procedural guidelines for
         critical law enforcement, security, and corrections, management and operations.17
         Authorship. In my over 44 years as a criminal justice professional and trainer, I have
         authored and published more than 120 articles on various law enforcement, security,
         and criminal justice topics, in numerous publications. In my writing, my primary
         focus has been on use of force, police vehicle operations, and other critical aspects of
         law enforcement and corrections operations, as well as the training and supervision of
         criminal justice professionals. Additionally, I have – at the request of both authors
         and publishers – edited, fact-checked, and content reviewed, criminal justice and risk
         management-oriented manuscripts, books, periodicals, and publications, authored by
         other criminal justice professionals.
         Currently. I am an independent criminal justice advisor, risk manager, and trainer.
         As such, I conduct risk assessments of law enforcement and jail operations – as well
         as policy reviews – for agencies throughout the United States. I am frequently
         consulted for risk management advice by criminal justice leaders and municipal
         officials. Additionally, I present staff and management training for peace officers and
         corrections personnel, as well as public sector managers, trainers, and government
         officials.
         I have the honor of serving as an Adjunct Professor of Justice and Public Policy, at
         Concordia University in Ann Arbor, Michigan. As such, I teach traditional
         undergraduate and graduate students in various courses, including Law Enforcement
         Policy and Practices, Administration of Justice, Corrections Theory and Practice,
         Juvenile Justice Theory, Foundations of Justice, Management of Law Enforcement
         Agencies, Ethics in Criminal Justice, Public Safety Risk Management, and others.
         Expert Case Consultation Objectivity. I have been privileged to provided expert
         consultation and review in more than 170 cases since 1994, approximately 75% of
         which have been defense cases. During the same years, I have had the honor of
         testifying as an expert – at deposition, hearing, or trial – 47 times in 41 cases,
         approximately 65% of which have been defense cases.18



        guidelines. Within the context of this report – and unless specified differently – all these terms are
        defined as having generally the same meaning.
     17
        Examples are the Law Enforcement Committee of the Michigan Municipal Risk Management Authority
        (MMRMA), the Law Enforcement Action Forum (LEAF committee) of the Michigan Municipal
        Liability and Property Pool (a division of the Michigan Municipal League), and the law enforcement
        advisory committee of the Iowa Communities Assurance Plan (ICAP).
     18
        A listing of cases in which I have testified as an expert at deposition, hearing, or trial, in the past four
        years, is attached as Exhibit III.

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     5. ANALYSIS PROTOCOL.
          In preparation of this review and development of associated opinions, I have
          conducted an analysis of much of the documentation and data currently available, and
          analysis continues.19 These documents and other materials are of the type typically
          relied upon by consultants and experts when conducting analyses of law enforcement,
          corrections, security, and criminal justice issues, and have provided me with enough
          relevant data to develop my opinions to a reasonable – or higher – degree of
          professional certainty.
          In addition to my evaluation of documents and other materials, I rely upon my skill
          and/or knowledge – as gained through my many years of experience, education,
          and/or training – in the law enforcement, security, corrections, and risk management
          fields; consultation with peers, review of professional literature, and independent
          research; as well as my understanding of the instant case.
          Terminology. Any opinions I proffer or statements that I make in this report that
          relate to legal terminology, standards, best practices, preferred practices, case law, or
          similar constructs, are drawn from my training and/or experience as a criminal justice
          practitioner, manager, educator, and trainer, as well as my experience and/or training
          as a researcher, governmental risk manager, and advisor. Use of specific legal
          terminology in this report is not intended to subvert the function of the court, or to
          inappropriately influence the role of the Jury or other trier of fact.20
          Truth, Veracity, and Bias. The following analysis is not intended to presume that any
          one version of the claims made in this case is more truthful than any other.
          Information drawn from various documents and other sources may be reported and
          contrasted for the purpose of relating events as they were perceived by those
          involved.21
          Methodology. I understand that a non-scientific expert must be qualified to offer
          expert testimony by skill, knowledge, experience, education, or training.22 Similarly, I
          understand that the role of the expert is to provide specialized knowledge that will
          assist the trier of fact to understand the evidence or to determine a fact in issue; and
          that said expert’s contribution must be both relevant and reliable.23


     19
        A listing of documents and data received, reviewed, or considered – thus far – is provided in the attached
        Document List as Exhibit I.
     20
        Like many other criminal justice managers, trainers, and instructors, I use such terms in training that I
        present to police and corrections personnel, because they are commonly understood by criminal justice
        practitioners, and are typically used in daily operations by law enforcement and corrections
        professionals.
     21
        Where practical I rely upon undisputed facts, and attempt to indicate those that are disputed when
        appropriate. Where facts and evidence appear to directly contradict statements and assertions of any
        party to this action, I attempt to point out the contradictions, and place them into context. Any apparent
        assumption of truth or implied assignment of veracity by me is undertaken solely for the purpose of
        analysis and the rendering of opinion, and is not intended to usurp the role of the Jury or other trier of
        fact.
     22
        Fed. R. Evid. 702.
     23
        Kumho Tire Co., et al., v. Carmichael, et al., 526 U.S. 137, 147 (1999).

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          In this report I have provided both general and specific qualifications that
          demonstrate and illustrate my qualifications to provide expert testimony in this case.
          The methodology I used in this case is the same that I have utilized for many years,
          and that has been peer-reviewed – at my request – by numerous other experts.
          Dependent upon the specific nature of each case, my methodology generally
          incorporates the following:24
             •    Orientation to case issues and elements;
             •    Review of provided case documents and materials;
             •    Development of a timeline, as well as a geographical and climatological
                  context for the incident;
             •    Review of case related documents available on PACER and/or other on-line
                  resources;
             •    Literature review regarding issues indicated in the instant case;
             •    General context consideration, regarding the backdrop of current and
                  historical practices in relevant fields;
             •    Comparative analysis of case-related issues against the backdrop of current
                  practices;
             •    Research and review of other relevant resource materials;
             •    Formulation of opinions.
          This methodology has been accepted by presiding Judges in previous cases wherein I
          have had the privilege of testifying at trial. My methodology is consistent with that
          utilized by other experts in the field of criminal justice when conducting analyses of
          criminal justice practices.25
          Nature and Status of Opinions. Within the scope of the information thus far received,
          and unless otherwise indicated, each of my opinions is held to a reasonable – or
          higher – degree of professional certainty, whether stated in the body of this report, or
          in the opinions section.26,27




     24
        While these elements are typically part of my methodology, not every element listed here is
        necessary – or will be undertaken – in every case.
     25
        When feasible, on-scene examination is undertaken of the locales where the incident occurred. This
        aspect is sometimes completed after my report is submitted, but before sworn testimony is provided,
        either at deposition or trial.
     26
        Some of the opinions that I have expressed in this report may contain references to some of the case
        specific documents reviewed or considered. Such references are not intended to be all-inclusive, and I
        specifically reserve the right to supplement the support for each of the opinions in this report.
     27
        In this report, I state my opinions based upon my understanding of the incident and circumstances in
        question. That understanding is drawn from the documents and other information that is available to me
        as of this writing. Other documents and materials may yet be discovered, disclosed, or provided. As my
        review and consideration of documents continues, further discovery occurs, and/or other information
        becomes available, I reserve the right to modify, revise, extend, and/or affirm my opinions.

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     6. SCOPE OF THIS REPORT.
            I was engaged by defense counsel, and was asked to review and opine regarding the
            actions of Detroit Police Officer Richard Billingslea concerning the events that gave
            rise to this action.28
            I note that there are several claims asserted in this case. With respect to Officer
            Richard Billingslea:
                •    Excessive force is claimed by Michaele Jackson. This claim is a focus of this
                     report.
                •    Unlawful arrest is claimed by D’Marco Craft and Michaele Jackson. Officer
                     Billingslea did not arrest Craft. The claim by Jackson is a focus of this report.
                •    Unlawful seizure of his cell phone/prevention of his ability to record the
                     incident is claimed by D’Marco Craft. Mr. Craft was not prevented from
                     recording the incident. A different officer seized the cell phone. Billingslea
                     logged the phone into evidence.
                •    Unlawfully requiring him to put out a cigarette is claimed by D’Marco Craft.
                     Officer Billingslea was not involved in this action.
                •    Unlawful seizure of his automobile is claimed by Michaele Jackson. Officer
                     Billingslea was not involved in this action.
                •    Failure to provide medical care is claimed by Michaele Jackson. EMS was
                     called to the scene. Billingslea and several other officers offered Jackson first
                     aid for his pepper spray exposure. Officers took him to hospital.
                •    Additionally, there are four claims by D’Marco Craft related to earlier alleged
                     incidents. These claims are not a focus of this report.
                     - 04/27/2016 A claim by Craft in which Officer Billingslea was one of three
                       officers that stopped and cited D’Marco Craft.
                     - June or July 2016 A claim by Craft of which there is apparently no record.
                     - December 2016 A claim by Craft of which there is apparently no record.
                     - 03/14/2017 A claim by Craft in which Officer Billingslea was only a back
                       up officer, whose only involvement was to transport another individual
                       (not Craft) to a detention center.
                •    Whatever Monell claims that are alleged in this case are not claimed against
                     Officer Billingslea, and will not be addressed in this report.




     28
          I note that while there are multiple officer defendants in this case – as well as the City of
          Detroit – Mr. Billingslea’s case was bifurcated. I was specifically engaged to opine regarding
          Mr. Billingslea’s case.

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     7. BACKGROUND.
          This action arises out of allegations concerning an incident that occurred during the
          very early morning hours of Wednesday, May 31, 2017, involving officers of the
          Detroit, Michigan, Police Department.29

     8. FACTS OR DATA CONSIDERED.
          The following reflects my understanding of the events and circumstances that are
          alleged to have occurred during the incident that gave rise to the instant case. It is
          drawn from the information currently available to me and is an amalgam of the
          various accounts, information, and perceptions, related to my specific imprimatur in
          this case. It is not intended to be an exhaustive or exclusive recitation of events or
          circumstances.
          Event Venue, Location, Weather, Lighting, and Timeframe. The events giving rise to
          the instant case occurred in and around a gas station/convenience mart located in the
          City of Detroit, Michigan. The events occurred during the very early morning hours
          of Wednesday, May 31, 2017.
          Venue. The gas station/convenience mart is located at 17046 Harper Avenue – near
          Cadieux Road – on the east side of the City of Detroit, Michigan. The specific
          locations of events were both in a parking area outside, and in the aisleways inside,
          the convenience mart.
          Location. As seen in contemporaneous videos, the parking area outside the
          convenience mart is paved in typical fashion. The interior of the convenience mart
          appears to be laid out in typical fashion, with a main aisle extending from the entry
          door across and in front of the counter area. There are several aisles running at right
          angles to this main aisle.
          Weather.30 At the time of the incident,31 the weather was partly to mostly cloudy,32
          with temperatures in the mid 50’s, and 75% humidity.33 The dewpoint was 48°.34 The


     29
        Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document Number 72,
        PageID.920-PageID.965, Filed 01/30/2019.
     30
        Historical weather readings utilized in this report originate from Coleman A. Young International Airport
        weather station, which is located approximately 3.5 miles west of the Harper/Cadieux intersection.
     31
        The actual weather data were recorded at 12:53 am, and 1:53 am. “Weather for Coleman A. Young
        Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May 2017,
        https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     32
        “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     33
        “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     34
        “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.

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          moon was at moonset.35 The wind was out of the southwest at approximately 6 - 8
          mph.36 There had been no precipitation recorded for the previous 24 hours.37,38
          Lighting. As seen in contemporaneous videos, artificial lighting was present both in
          the parking area and inside the convenience mart. The interior of the mart appears
          especially well-lit.
          Time. Reports completed by the initiating officers (Patterson and Billingslea) each
          indicate that the incident time was 1:40 [am].39,40
          Centrally Involved Individuals. Various law enforcement officers and individuals are
          mentioned in the documentation of this case. This report primarily focuses on the
          following:41
              •   D’Marco Craft, Plaintiff.42 D’Marco Craft (Mr. Craft, Craft) was reportedly a
                  passenger in a vehicle operated by Michaele Jackson. Mr. Craft was involved
                  in an incident which culminated in an interaction between him and several
                  Detroit officers.
              •   Michaele Jackson, Plaintiff.43 Michaele Jackson (Mr. Jackson, Jackson) was
                  reportedly the operator of a vehicle in which D’Marco Craft was a passenger.
                  Mr. Jackson was involved in an incident which culminated in an altercation
                  between him and several Detroit officers, during which Jackson was arrested.
              •   Richard Billingslea, a named Defendant.44 At the time of this incident,
                  Richard Billingslea (Officer Billingslea, Mr. Billingslea, Billingslea) was
                  employed as a police officer by the Detroit Police Department. On May 31,
     35
        “Sun and Moon Data for One Day for Wednesday, May 31, 2017”; U.S. Naval Observatory
        Astronomical Applications Department; https://aa.usno.navy.mil/rstt/onedaytable?ID=AA&year=2017&
        month=5&day=31&state=MI&place=Detroit. Accessed and retrieved by Steve Ashley on 8 July 2019.
     36
        “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     37
        “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather Underground, 31 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-31. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     38
        “Weather for Coleman A. Young Airport, Detroit, MI for May 30, 2017”. Weather Underground, 30 May
        2017, https://www.wunderground.com/history/daily/us/mi/detroit/KDET/date/2017-5-30. Accessed and
        retrieved by Steve Ashley on 8 July 2019.
     39
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017.
     40
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     41
        This proviso is made for the sake of brevity, and is not intended to imply that any individual associated
        with the instant case is less credible, or that their information is less relevant or material. Any
        other – more tangentially – involved individuals may be listed elsewhere in this report.
     42
        Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document Number 72,
        PageID.920-PageID.965, Filed 01/30/2019.
     43
        Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document Number 72,
        PageID.920-PageID.965, Filed 01/30/2019.
     44
        Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document Number 72,
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                  2017, Billingslea was in modified uniform (with name and badge visible) and
                  driving a semi-marked Detroit Police vehicle.45 Billingslea and his
                  partner – Hakeem Patterson – were assigned to Special Operations, and were
                  working as a two-man crew, designated Scout 5/36.46
              •   Hakeem Patterson, a named Defendant.47 At the time of this incident, Hakeem
                  Patterson (Officer Patterson, Patterson) was employed as a police officer by
                  the Detroit Police Department. On May 31, 2017, Patterson was in modified
                  uniform (with name and badge visible) and riding as passenger in a
                  semi-marked Detroit Police vehicle.48 Patterson and his partner – Richard
                  Billingslea – were assigned to Special Operations, and were working as a
                  two-man crew, designated Scout 5/36.49
          General Summary of Incident. The general incident description that follows is drawn
          primarily from the report and testimony of Officer Billingslea, as his perceptions and
          impressions were those that informed his actions during the incident.
          Richard Billingslea –Narrative. The following is drawn from Officer Richard
          Billingslea’s statements in his written narrative, which was part of his initial report of
          the incident.50,51 It, supplemented by his later deposition testimony, is based on
          Billingslea’s reported perception of the incident. His account is augmented here with
          some other appropriate information.
          On the night of the incident Officers Richard Billingslea and Hakeem Patterson were
          working as partners; they were each wearing a Detroit Police Department modified
          Special Operations uniform, with their badges showing.52 They were operating a
          Detroit Police semi-marked scout car, which was parked outside the convenience
          mart during the incident.
          At approximately 1:30 am, Billingslea and Patterson stopped at a service
          station/convenience mart. Patterson waited in their scout car outside the mart, while



     45
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     46
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     47
        Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document Number 72,
        PageID.920-PageID.965, Filed 01/30/2019.
     48
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017.
     49
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017.
     50
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     51
        Although there are multiple defendant officers, because Richard Billingslea’s case was bifurcated, and I
        was specifically engaged to review and opine regarding his actions, by his defense counsel, this account
        is primarily informed by his perception of events as indicated in his written narrative and testimony.
     52
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.

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          Billingslea was inside, using the restroom, which is located behind the counter area.53
          When Billingslea came out of the restroom, he saw D’Marco Craft out in front of the
          counter. Billingslea reports that Craft looked at him, loudly made a disparaging,
          profane remark, “put up both middle fingers”54 and walked out the door.55 Billingslea
          followed to the doorway, and there ensued a verbal interaction in the parking area.
          Billingslea radioed for back up units.56 Craft went to his vehicle briefly, then
          attempted to return to the convenience mart. Billingslea did not let Craft enter the
          mart because he wanted to keep him outside, where he could see both Craft and
          Jackson, as well as his partner, Officer Patterson.57
          As Billingslea was standing in the doorway (in clearly recognizable uniform)
          following this interaction, Billingslea noted that Craft returned to his vehicle,58 and
          later testified that he told Jackson they should leave and go elsewhere to purchase
          cigarettes. Instead, Michaele Jackson got out of the vehicle and approached Officer
          Billingslea, “yelling and shouting in a very aggressive manner”59 Jackson later
          testified that he didn’t know, and didn’t care, that Billingslea was a police officer.60
          Billingslea reported that Jackson, who was unknown to him, then “attempted to push
          past [him]”61 at the door to the convenience mart. Although Billingslea was
          apparently not aware of it at the time, later video review indicates that Jackson
          reached around Billingslea in the direction of his sidearm.62
          Officer Patterson observed the altercation in the doorway from his seat in the scout
          car.63 Officer Patterson left the scout car and approached.64 Officer Billingslea reports
          that he and Patterson took Jackson to the ground outside the mart, “in an attempt to
          deescalte [sic] the situation due to his [Jackson’s] active aggression.”65 However, as

     53
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     54
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     55
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     56
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     57
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, pp.58-59.
     58
        Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
        05/31/2017.
     59
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     60
        Deposition transcript of Michaele Jackson Jr., dated 06/21/2019, with attached exhibits, pp. 125-126.
     61
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     62
        Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
        05/31/2017.
     63
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017.
     64
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017.
     65
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.

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          Billingslea and Patterson were working to control Jackson, Billingslea perceived that
          he [Jackson] calmed down, so they allowed him to get up off the ground.66 Later,
          Billingslea testified that he was “trying to give [Jackson] the benefit of the doubt to
          leave.”67 Rather than doing so, Jackson got to his feet, walked around the gas pump
          island, and entered the convenience mart, contrary to Billingslea’s instructions.68,69
          Billingslea testified that Jackson acted and sounded drunk.70 Billingslea also testified
          that he was attempting to keep both Craft and Jackson together outside the
          convenience mart where his partner – Patterson – was, until other officers arrived to
          assist.71
          Billingslea followed Jackson into the mart, reportedly giving him verbal commands to
          leave the premises, which Jackson did not do. Billingslea reached out to grab Jackson,
          but Jackson swung his arm across, batting away Billingslea’s hand. Billingslea again
          reached out, this time taking Jackson by the arm. When he did so,72 Jackson “clicned
          [sic] his right hand displaying active aggression, the arrestee swung his right closed
          fist toward my head face area [sic]”.73,74 Billingslea testified that he was able to
          avoid the blow to his head, and was instead struck on his shoulder.75
          Billingslea reported that he drew his OC spray76 and “ordered the arrestee to get on
          the ground or you are going to be sprayed.”77 When Jackson did not comply,
          Billingslea reported that he sprayed him with a “2-3 second birst [sic] in the direction
          of arrestees face and then grabbed him around the upper torso and brought him to
          the ground so he could be handcuffed.”78
          Officer Patterson entered the store as this was occurring, but was reportedly engaged
          in attempting to control Mr. Craft, who he perceived was actively interfering by




     66
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017.
     67
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 57.
     68
        Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
        05/31/2017.
     69
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     70
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 91.
     71
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, pp. 91-92.
     72
        Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
        05/31/2017.
     73
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     74
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, pp. 93-94.
     75
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 93.
     76
        OC spray is oleoresin capsicum, or what is colloquially referred to as pepper spray.
     77
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     78
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.

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          verbally interjecting comments as he attempted to get closer to the altercation, and not
          following commands to back away.79
          Once Jackson was on the floor, Billingslea reportedly ordered him to put his hands
          behind his back which he would not do. Billingslea delivered distraction strikes to
          Jackson80 when Jackson continued to resist.81 Jackson was reportedly “clinching his
          fist [sic] underneath [sic] his body.”82 Jackson had not yet been searched for
          weapons; Billingslea was concerned that he may be armed.83
          Officer Patterson continued to be distracted by his efforts to deal with Craft, and was
          thus unable to assist Billingslea. Officer Billingslea held Mr. Jackson on the floor
          until other officers arrived to assist with the handcuffing. Eventually, Officers Brown,
          Bines, and Hill, arrived and assisted Billingslea.84 Once handcuffed, the still resisting
          Jackson was placed into a scout car. A few moments later, Officer Billingslea
          reportedly approached Jackson with water, with which to rinse out his eyes; 85
          Jackson reportedly refused.86 Other officers can be heard on video asking repeatedly
          if Jackson is refusing to have his eyes flushed; Jackson does not answer, but demands
          to have a supervisor come to the scene.87 EMS was called and responded to the scene.
          One of the Medics approached and spoke with Mr. Jackson; determined that Jackson
          did not need immediate treatment, and turned him over to the officers, who – a short
          time later – transported him to Detroit Receiving Hospital, where he was seen by a
          physician.88
          During the incident, another officer had taken Mr. Craft’s cell phone, as he learned
          that it contained video of the incident.89 Officer Billingslea reported that he
          “recovered Mr Crafts [sic] cell phone to place on evidence which showed some video
          footage of the incident.”90 Billingslea logged the phone into evidence, and it was later
          returned to Mr. Craft.


     79
        “Active resistance includes ‘[ … ] disobeying officers.” Rudlaff v. Gillispie, 791 F3d 638, 641
        (6 Cir. 2015).
     80
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     81
        Video file titled Craft’s Cell Phone Video.MOV, [length 00:03:02], UTC encode date 05/31/2017.
     82
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     83
        Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, pp. 38-39, 49.
     84
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 3.
     85
        According to most – if not all – OC spray manufacturers, first aid for an OC exposure consists of fresh
        air and flushing with water, along with the passage of time.
     86
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 3.
     87
        Video file titled Naim Brown’s Body-Camera Video.mp4, [length 00:29:35], no encode date.
     88
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 3.
     89
        Deposition transcript of Antoine Hill, dated 05/31/2019, with attached exhibit, p. 17.
     90
        Detroit Police Use of Force or Detainee Injury Report of Officer Richard Billingslea, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 3.

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          Other Officer Statements. There were several other officers at the gas
          station/convenience mart, either during or following the events that gave rise to the
          instant case. Their various statements are generally, materially consistent with Officer
          Billingslea’s version of events.
             Officer Hakeem Patterson was Billingslea’s partner, and was not in the
             convenience mart when the interaction between Billingslea and Craft began.
             Patterson did observe Jackson’s behavior outside the mart, and assisted
             Billingslea in initially taking Jackson to the ground outside the mart.91 After
             Jackson entered the mart, Patterson eventually followed Billingslea inside, and
             heard Billingslea say that Jackson had tried to hit him.92 Patterson saw Billingslea
             take Jackson to the floor, but was distracted by Craft, who was nearby.93 Patterson
             was trying to keep an eye on Craft until back up officers arrived.94
          Involvement of Other Emergency Services Personnel. Following Michaele Jackson’s
          arrest, Detroit EMS were summoned to the scene; they did not witness any of the
          events leading to the arrest. In the aftermath, one medic approached Jackson and
          asked if he wanted EMS to treat him. Jackson did not answer, so the Medic advised
          officers that “he doesn’t need stitches”.95 Ultimately, Jackson was transported to
          hospital by other officers [not Billingslea] in Scout 5-37.
          Witness Statements. There was a convenience mart employee in the store during the
          incident. I reviewed a video recording, and also a transcript, of his deposition. I note
          the following from his testimony:
             •    The employee’s name is Mohammad [phonetic] Almasmary, and he was the
                  counter clerk on the night shift during the incident.96
             •    Mr. Almasmary has very little memory of the incident, remembering almost
                  no details.97
             •    When shown a video of the incident, his memory was only partially refreshed.
             •    He saw nothing that occurred outside.98
             •    Once [Jackson] and [Billingslea] entered the store, he is seen on the video
                  telling Jackson to “relax”. Mr. Almasmary testified that he was trying to tell
                  both Jackson and Billingslea to relax.99

     91
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     92
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     93
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     94
        Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
        Number 1705310034, dated 05/31/2017, p. 2.
     95
        Video file titled Naim Brown’s Body-Camera Video.mp4, [length 00:29:35], no encode date.
     96
        Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     97
        Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     98
        Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     99
        Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.

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              •   Before watching the video, Mr. Almasmary testified that he didn’t see Jackson
                  swing at the officer. After watching the video, he seemed to remember
                  Jackson taking a swing at Billingslea.100
              •   He does not remember seeing a cell phone in the store during the incident.101
              •   He testified that he did not give copies of the store videos to the Sergeant that
                  asked for them, as he did not have access to the password for the system.102
           There is another individual – a delivery driver – on video early in the incident,
           apparently stocking shelves. Mr. Almasmary does not know his name.103
           Video Review. There are numerous video recordings covering various portions of the
           incident. Some recordings show limited parts of the initial encounters, while most
           show various perspectives of the aftermath. This is especially true of many of the
           individual officers’ body camera recordings.
           There are several surveillance videos from the convenience mart’s security system.
           While these do not completely portray events as reported by Officers Billingslea and
           Patterson, they do appear to be materially consistent with the following:
              •   Michaele Jackson is seen attempting to push past Billingslea at the door of the
                  mart.104
              •   As he tries to push past Billingslea, Jackson’s left hand is seen reaching
                  around Billingslea’s duty belt, and fumbling in the vicinity of Billingslea’s
                  sidearm.105
              •   Billingslea is seen pushing Jackson away in the doorway, apparently just
                  before he and Patterson take Jackson to the ground outside the mart.106
              •   Jackson is seen yelling and walking around the gas pump island prior to
                  reentering the mart.107
              •   Jackson is seen reentering the mart, followed by Billingslea. Billingslea is
                  seen reaching out toward Jackson, as Jackson backs away from him.108
              •   Jackson is seen sweeping his hand across and brushing Billingslea’s hand
                  away.109



     100
         Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     101
         Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     102
         Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     103
         Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached exhibits.
     104
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     105
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     106
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     107
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.
     108
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     109
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.

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             •    Billingslea is seen reaching out and grasping Jackson’s upper left arm in an
                  escort hold. Jackson is seen then turning to his left, and punching at
                  Billingslea with his right hand,110 narrowly missing Billingslea’s face and
                  head.111
             •    Mr. Almasmary is seen facing Jackson, and telling him several times to
                  relax.112 Jackson momentarily raises his hands into a two-fisted fighter’s
                  stance.113
             •    Jackson steps toward Mr. Almasmary, who puts out his hand to hold Jackson
                  away.114
             •    Billingslea is seen drawing his OC spray, and spraying it toward Jackson.
                  Jackson is apparently unaffected by the spray, and does not appear to react,
                  although he does turn away to face toward the counter.115
             •    Patterson is seen entering the mart, distracted by Craft.116
             •    Billingslea is seen grasping the larger Jackson from behind, with his right arm
                  over Jackson’s right shoulder and lower neck area. Billingslea pulls Jackson
                  backwards, and down to the floor.117
             •    Once on the floor, there is an on-going struggle between Billingslea and
                  Jackson, as Billingslea tries to take Jackson into custody. Jackson resists,
                  moving around and attempting to get up,118 while keeping his hands out of
                  sight under his body.119 This continues until other officers arrive to assist
                  Billingslea.
             •    After he is handcuffed, Jackson continues to resist officers’ efforts to control
                  him.
             •    Later, there are several recordings that show Jackson being offered water to
                  flush his eyes; Jackson either refuses to answer or declines the water.




     110
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     111
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.
     112
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     113
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.
     114
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.
     115
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     116
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     117
         Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date 05/31/2017.
     118
         Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 90.
     119
         Video file titled NAIMBROWN842_201705310134_WFC1008651_
         14707467.mp4, [length 00:29:35], no encode date.

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     9. INFORMATION FOCUS.
           I draw the reader’s attention to the following items, in order to specifically focus on
           or to underscore additional points that inform my opinions.120
              •   During the initial encounter between Officer Billingslea and D’Marco Craft,
                  Craft moved close to Billingslea, and Billingslea moved him away with a
                  straight arm, while cautioning him to back up.
              •   After his initial interaction with Mr. Craft, Officer Billingslea did not follow
                  him outside; rather, he – in effect – walked away.
              •   Craft returned to the car, and advised Jackson of the situation, and that they
                  should go to a different location to get their cigarettes.
              •   Jackson refused, and determined to go into the mart anyway.
              •   Although Billingslea had had previous encounters with Craft, Billingslea
                  reportedly did not know Mr. Jackson.
              •   Michaele Jackson chest bumped and pushed against Officer Billingslea at the
                  door of the mart.
              •   Billingslea testified that Jackson appeared drunk.
              •   Billingslea attempted to move Jackson away, and Jackson resisted, grappling
                  with him in the doorway of the convenience mart.
              •   Jackson can be seen reaching around Billingslea’s right side, and moving his
                  hand around the vicinity of Billingslea’s sidearm.
              •   Billingslea – assisted now by his partner, Hakeem Patterson – moves the
                  altercation outside the mart, and takes the resisting Jackson to the ground.
              •   Craft moves close to the officers, recording the encounter on his cell phone.
                  Billingslea does not stop him from recording; he wants Craft to move away
                  from the officers.
              •   Jackson initially resists, then appears to calm down. Billingslea and Patterson
                  let him get up. A verbal exchange occurs between Patterson and Jackson, as
                  well as between Billingslea and Craft, as Billingslea moves Craft away.
              •   Craft’s actions throughout the encounter distract the officers from focusing on
                  Jackson, splitting their attention.
              •   At this point, neither Craft nor Jackson has been patted down for weapons.121
              •   Jackson walks around the gas pumps while shouting, then enters the
                  convenience mart, pushing past the store clerk – Mr. Almasmary – in the
                  doorway.


     120
         This sequence can be followed in the video recording titled Composite- Gas Station Surveillance
         Video.mp4, [length 00:15:24], UTC encode date 05/31/2017.
     121
         The fact that Jackson was not searched for weapons during the initial take-down outside the convenience
         mart was consistent with typical police training. Officers have long been trained to search subjects after
         they are handcuffed – not before – as an officer safety measure.

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              •   Billingslea follows, and reaches toward Jackson as Jackson backs away.
                  Jackson resists, sweeping his hand across, pushing Billingslea’s outstretched
                  hand away.
              •   Billingslea attempts to take control of Jackson by taking him by the left arm in
                  an escort attitude. Billingslea has his radio microphone in his left hand.
              •   Jackson resists, pulling away and assuming a semi-crouch fighting stance,
                  with his right hand clenched into a fist.
              •   Jackson then swings a roundhouse punch toward Billingslea’s head with his
                  right fist, while simultaneously pushing his left hand and arm into
                  Billingslea’s chest. Billingslea is able to avoid most of the blow, but is struck
                  on the shoulder and chest.
              •   Jackson steps back, momentarily raising both his fists to a fighter’s stance,
                  before turning his attention to the store clerk. Jackson moves toward the clerk,
                  who puts out his arm to hold Jackson back.
              •   Billingslea draws his pepper spray, and sprays Jackson, apparently to no
                  effect.122
              •   Patterson and Craft enter the mart just as Billingslea sprays Jackson.
              •   Billingslea approaches Jackson, and grasps him around his right shoulder and
                  neck area, displacing Jackson’s balance, while pulling him backwards and
                  down toward the floor. Billingslea appears to momentarily lose his grip on the
                  larger, heavier, Jackson, causing Jackson to fall toward the floor and into a
                  merchandise rack.
              •   Once Jackson is on the floor, Billingslea struggles with him, using verbal
                  commands and distraction blows in an attempt to get Jackson’s hands behind
                  his back. Jackson is holding his hands beneath his body, out of sight of Officer
                  Billingslea,123 and tries to get up.124
              •   Patterson is distracted by Craft, who moves close while filming. Neither
                  officer stops Craft from recording, although Patterson moves Craft away from
                  Billingslea and Jackson.
              •   Jackson is eventually handcuffed with the assistance of other officers who
                  arrive as back up.
              •   Jackson continues to struggle and resist after being cuffed, both while on the
                  floor and while being escorted to a scout car. However, it appears that no
                  additional blows are struck once he is handcuffed.


     122
         Pepper spray is a pain compliance tool. Officers are trained that intoxicated, deranged, or enraged
         people often to not respond to pain compliance techniques, because they are impervious to pain.
     123
         This is a common attitude assumed by resisting suspects; they bend their arms in a barbell curl posture,
         with muscles tensed. This makes their arms very difficult to pull from beneath their body. The technique
         is a prone modification of a well-known Jiu-Jitsu move known as the Turtle Position or Turtle Defense.
         It is colloquially known to officers as turtling.
     124
         Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 90.

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              •   During the actual incident, Officer Billingslea had limited information
                  regarding who Jackson was, what Jackson’s primary motivation was, and
                  what exactly was happening.
              •   Billingslea and Patterson were clearly aware that their actions were being
                  recorded,125 and took no action to prevent it.
              •   The situation was chaotic and developed suddenly; one moment Billingslea
                  was verbally interacting with D’Marco Craft, and a few moments later, he was
                  bumped and pushed by Michaele Jackson. Following additional interaction
                  with Jackson, Billingslea is punched by Jackson while attempting to arrest
                  him.
              •   Michaele Jackson had at least two opportunities to – in effect – walk away
                  from this encounter.126 He chose not to do so.
           As stated, supra, this incident happened very quickly. While the timing is
           approximate, the record indicates that roughly five minutes elapsed, from the time
           that Craft and Jackson stopped their vehicle at the gas pump island until Jackson was
           actually handcuffed on the floor of the convenience mart. From the moment that
           Jackson entered the convenience mart, until he punched Officer Billingslea was
           approximately seven seconds.127
           Of Note. Much of the interaction between the officers and D’Marco Craft and
           Michaele Jackson can be characterized as male posturing and profane street talk.
           While this may be regrettable, in my view it constitutes a side-issue.

     10. HUMAN FACTORS RESEARCH.
           Action vs. Reaction. Police officers are trained that action beats reaction.128 By way
           of illustration, time and movement action/reaction research conducted through and by
           the Force Science Institute129 has shown that even an average, untrained, individual
           can draw and fire a concealed handgun from his or her waistband in less than 23⁄100 of
           a second, with some untrained individuals able to do so in 9⁄100 of a second.130,131




     125
         Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached exhibits, p. 89.
     126
         Once when Craft returned to the vehicle and told Jackson to go to a different store for cigarettes, and
         once when Billingslea and Patterson let him up from the concrete following the first takedown.
     127
         Video file titled Composite- Gas Station Surveillance Video.mp4, [length 00:15:24], UTC encode date
         05/31/2017.
     128
         Joyner, C. (2011). Advanced Concepts in Defensive Tactics: A Survival Guide for Law Enforcement.
         Boca Raton FL: CRC Press. 66-67.
     129
         Originally located at Minnesota State University-Mankato; The Force Science Institute training center is
         now headquartered in Des Plaines, Illinois.
     130
         Lewinski, B. (2000, November/December). Why is the Suspect Shot in the Back? The Police
         Marksman, 27(6). 20-28.
     131
         Lewinski, W. J., & Dysterheft, J., Bushey, J., & Dicks, N. (2015). Ambushes Leading Cause of Officer
         Fatalities – When Every Second Counts: Analysis of Officer Movement from Trained Ready Tactical
         Positions. Law Enforcement Executive Forum. 15(1). 1-15.

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           Other research shows that even novice shooters can fire at least three rounds in 1.5
           seconds.132
           In counterpoint, similar research shows that – under laboratory conditions – an
           average police officer, with his gun out and pointed at an identified target, with the
           officer’s finger on the trigger, and being psychologically set, is able to react to a
           stimulus and pull the trigger of a handgun in between ¼ and ⅓ of a second.133,134,135
           However, police trainers have long understood136 that, in the field, officers’ reaction
           times to all sorts of stimuli will be slowed by distractions in the environment, and the
           frequent need to multitask. Reaction times are also often affected by the need to
           choose from among several available tactics, weapon options, or courses of action.
           This phenomenon is recognized by police trainers137 as a manifestation of a rubric
           known as Hick’s Law,138 which states that, as one’s options or choices increase, the
           time required to choose from among those options increases logarithmically.139 This
           can also apply to the need to focus attention on more than one subject, or the
           distracting behavior of one or more individuals.
           So, in short, a seemingly unarmed or non-threatening suspect can produce and use a
           concealed firearm or other weapon before an officer (who already has his gun out and
           pointed at the suspect, with his finger on the trigger) can react to the threat and/or fire
           at the suspect.
           In the instant case. Potential examples of Hick’s Law can be seen in the instant case,
           when – as can be seen throughout the video of the encounter – D’Marco Craft’s
           frequent interference and verbal interjections distracted both Billingslea and
           especially Patterson from focusing on the assaultive and unpredictable nature of
           Jackson’s behavior. Additionally, Mr. Almasmary was distracted and confused about
           the nature and sequence of events.
           Speed of a Subject. Officers are always concerned about the hands of a subject,
           especially when they cannot see them, such as when an individual turtles his hands
           and arms under his body. Additional human factors research has shown that an
           individual can point a handgun at an officer, and then turn away so quickly that, by

     132
         Lewinski, W. J., & Redmann, C. (2009). New Developments in Understanding the Behavioral Science
         Factors in the “Stop Shooting” Response. Law Enforcement Executive Forum. 9(4). 35-54.
     133
         Force Science Research Center, Force Science Institute, Des Plaines, Illinois.
     134
         Lewinski, B. (2000, November/December). Why is the Suspect Shot in the Back? The Police
         Marksman, 27(6). 20-28.
     135
         Lewinski, W. J., & Dysterheft, J., Bushey, J., & Dicks, N. (2015). Ambushes Leading Cause of Officer
         Fatalities – When Every Second Counts: Analysis of Officer Movement from Trained Ready Tactical
         Positions. Law Enforcement Executive Forum. 15(1). 1-15.
     136
         Remsberg, C., Adams, R. J., & McTernan, T. M. (1980). Street Survival: Tactics for Armed Encounters.
         Evanston IL: Calibre Press. 126.
     137
         Siddle, B. K. (2004). PPCT Defensive Tactics Instructor Manual – United States edition. Belleville IL:
         PPCT Management Systems. 1-9.
     138
         Sometimes referred to as the Hick-Hyman Law, after British and American psychologists William
         Edmund Hick and Ray Hyman.
     139
         Jennett, S. (Ed.). (2008). Churchill Livingstone’s Dictionary of Sport and Exercise Science and
         Medicine. New York: Elsevier Limited.

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           the time the officer perceives the dangerous move and reacts by pulling the trigger of
           his own handgun, the individual will have completely turned away and presented his
           back to the officer. The average time for such an individual pointing a handgun at an
           officer, to then turn away to a squared back posture is 14⁄100 of a second, with some
           individuals completing the maneuver in even less time.140,141 This sometimes results
           in an officer firing in defense of his own life, and the suspect sustaining gunshot
           wounds to his side or back.
           This general concept holds true even when the individual is seated, as if in a vehicle.
           Research with a seated subject, with a handgun in his right hand, and the weapon held
           down to the subject’s right, as if it were concealed alongside or below the subject’s
           right thigh, indicates that the subject can bring the weapon up and discharge a round
           through the driver’s window in approximately 25⁄100 of a second (on average). The
           fastest times recorded by several research subjects in the same study was 15⁄100 of a
           second. This is almost twice as fast as the average officer can pull the trigger of his
           own weapon, even set with his finger on the trigger and ready to fire.142,143
           Other research reports that prone subjects – with their hands hidden beneath their
           body – can produce and fire a weapon from under their body in between ⅓ and ½ of a
           second.144 Still other research illustrates that a typical individual in their early 20s can
           run 15 feet, and slash or stab an officer with a blade instrument in approximately 1
           second.145,146,147
           In the instant case. The fact that neither Craft nor Jackson had been checked for
           weapons, coupled with Jackson’s turtling of his hands and arms and his attempts to
           get up, created a dangerous situation for Billingslea and others. The danger was
           increased by Craft’s maneuvering for position, and staying within a few feet of the
           officers, despite their commands to step back.


     140
         Lewinski, B. (2000, November/December). Why is the Suspect Shot in the Back? The Police
         Marksman, 27(6). 20-28.
     141
         Lewinski, W. J., & Dysterheft, J., Bushey, J., & Dicks, N. (2015). Ambushes Leading Cause of Officer
         Fatalities – When Every Second Counts: Analysis of Officer Movement from Trained Ready Tactical
         Positions. Law Enforcement Executive Forum. 15(1). 1-15.
     142
         Lewinski, B. (2000, November/December). Why is the Suspect Shot in the Back? The Police
         Marksman, 27(6). 20-28.
     143
         Lewinski, W. J., & Dysterheft, J., Bushey, J., & Dicks, N. (2015). Ambushes Leading Cause of Officer
         Fatalities – When Every Second Counts: Analysis of Officer Movement from Trained Ready Tactical
         Positions. Law Enforcement Executive Forum. 15(1). 1-15.
     144
         Lewinski, W. J., Seefeldt, D., Redman, C., Gonin, M., Sargent, S., Dysterheft, J., & Thiem, P. (2016).
         The Speed of a Prone Subject. Law Enforcement Executive Forum. 16(1). 70-83.
     145
         Lewinski, W. J., & Dysterheft, J., Bushey, J., & Dicks, N. (2015). Ambushes Leading Cause of Officer
         Fatalities – When Every Second Counts: Analysis of Officer Movement from Trained Ready Tactical
         Positions. Law Enforcement Executive Forum. 15(1). 1-15.
     146
         Lewinski, W. J., Dysterheft, J. L., Seefeldt, D. A., & Pettitt, R. W. (2013). The influence of officer
         positioning on movement during a threatening traffic stop scenario. Law Enforcement Executive Forum,
         13(1), 98-109.
     147
         Lewinski, W. J., Hudson, B, & Dysterheft, J. L. (2014). Police officer reaction time to start and stop
         shooting: The influence of decision-making and pattern recognition. Law Enforcement Executive
         Forum, 14(2), 1-16.

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     11. COGNITION AND PERFORMANCE DURING STRESSFUL EVENTS.
           Because of the tense, uncertain, and rapidly evolving, nature of the incident during
           the early morning hours of May 31, 2017, a discussion of underlying issues is in
           order.148
           The Effect of Tense, Uncertain, and Rapidly Evolving Events. While the phrase
           “tense, uncertain, and rapidly evolving”149 is most often considered when discussing
           the justification for an officer’s use of force, these same three dimensions are factors
           that impact the perception of officers and other individuals under stress, e.g., while
           being attacked, while waiting for the arrival of an ambulance or other emergency
           vehicle, or while watching or participating in an altercation or other high stress event.
           Officers are trained, and know, that the more tense a situation is perceived to be; the
           greater the uncertainty of events or outcomes; and the more rapidly a situation seems
           to be unfolding – implying an increasing lack of control, or safety – the more an
           individual’s perception of time and events can be distorted. Different stimuli and
           shifting situational factors impact how particular events are perceived. Despite their
           training, it is not uncommon for officers to experience many of the same effects as
           victims, witnesses, and other parties, in believing that events take much longer to
           occur than they actually do, or that they occur more quickly. In some cases, events
           seem to telescope in officers’ minds, causing them to not enumerate some details of a
           stressful encounter when reporting or memorializing an incident.
           This effect has long been well known among police trainers, as well as other
           emergency service professionals. It is often referred to as time distortion, or
           tachy-psyche effect.150,151 Trainers and researchers recognize it as a normal, human
           reaction to stress, and a form of body alarm response, or alarm reaction.152 Body
           alarm response is often colloquially referred to as fight-flight-freeze, or the
           fight-or-flight survival response.153
           These time distortion effects are often seen when witnesses under- or overestimate
           how long an incident lasted, how long it took for an EMS vehicle to reach an injured
           party, or how long it took a particular individual to cover a certain distance or


     148
         This discussion of underlying issues is intended to assist the reader with understanding some of the
         concepts that inform my opinions in this matter. They are a reflection of my applicable skills and
         knowledge, as gained through my experience, education, and training.
     149
         Graham v. Connor, 490 U.S. 386, 396-7 (1989).
     150
         Tachy-psyche effect, sometimes referred to as tachypsychia, is a neurological condition wherein a
         person’s sense of time is distorted. Police trainers and other emergency services personnel know it as
         one of the most common effects of high-stress encounters and events.
     151
         Nugent, Pam M.S. “Tachypsychia”. PsychologyDictionary.org. April 13, 2013,
         https://psychologydictionary.org/tachypsychia/. Accessed by Steve Ashley on May 28, 2018.
     152
         As defined by The American Heritage Medical Dictionary, 2007 ed., “The initial stage in the body’s
         response to stressful stimuli, characterized by adaptive physiological changes, such as increased
         hormonal activity and increased heart rate.”
     153
         Other common manifestations of body alarm response are well known to law enforcement trainers and
         officers, and can include tunnel vision, auditory exclusion, loss of fine motor skills, and inaccurate
         memory of details.

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           perform a certain task, even when documented evidence to the contrary illustrates the
           correct distances or time frames.
           In the instant case. The possible effects of tachypsychia can be seen in this incident,
           and may be reflected in Mr. Almasmary’s confusion regarding the time sequence of
           events.154
           A Note Regarding Variations in Officers’ Accounts of Events. There is some
           variation in the accounts of the officers, regarding the specific events at the
           convenience mart. This variation does not necessarily imply discrepancy or
           subterfuge; criminal justice trainers and managers have long understood that some
           variation is to be expected. In a quest for the most accurate accounting, this has led to
           a common – yet sometimes controversial – practice of delaying detailed reporting of
           critical incidents for one or sometimes two – or even three – sleep cycles, so as to
           allow for memory consolidation. A form of this approach is sanctioned by the
           International Association of Chiefs of Police.
           Without reviewing every variation here, several general statements are relevant:155
              •   It is common for reports and recitations of details to become more fully
                  developed during successive telling. This is often due to the nature of the
                  questioning, and the time, energy, and motivation available to the reporting or
                  testifying person.
              •   This phenomenon often results in details being stated out of order, or skipped
                  altogether, until – in a later accounting – the questioner or the individual
                  themselves discover the problem, and correct it.
              •   Accounts of the same event can be framed differently – sometimes even
                  accounts by the same individual – based on the purpose of the report,
                  statement, interview, or testimony. Internal Affairs detectives are often
                  seeking different information than criminal investigators; probation officers
                  are seeking different information for a pre-sentence report than a plaintiff’s
                  attorney taking a deposition. Depending on the nature and purpose of the
                  accounting, different details are often pursued for different purposes.
                  Comparing such statements can lead to an impression that they are different
                  for some nefarious, conspiratorial reason.
           In the final analysis, and as discussed in more detail herein, all accounts of any given
           occurrence derive from individuals that see events from different, unique
           perspectives.156
           In the instant case. Billingslea and Patterson wrote their initial reports early in the
           morning following the events discussed here, without sleep or rest. Both officers
           began their duty shift at 6:45 pm157 on 05/30/2017; they were scheduled to get off

     154
         Video recording and transcript of the deposition of Mohammad Almasmary, dated 06/17/2019.
     155
         Force Science Institute details reasons for delaying interviews with OIS survivors. Force Science News,
         254, p. 1-5. Retrieved from http://www.forcescience.org/fsnews/254.html. Accessed and retrieved by
         Steve Ashley on 19 September 2017.
     156
         Byther ex rel. Byther v. City of Mobile, 398 F. Supp. 2d 1222, 1237 (S.D. Ala. 2005).
     157
         6:45 pm is equivalent to 1845 hrs.

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           duty at 3:00 am158 on 05/31/2017.159 Patterson’s report was time-stamped at 0531160
           on 05/31/2017;161 Billingslea’s report was time-stamped 0459162 on 05/31/2017.163
           Variances in the details of a stressful event, especially just a few hours afterward, and
           near the end of what amounts to an 11 hour shift, are not only likely – they are
           expected.
           Situational Awareness and Perceptual Narrowing. Body alarm response can affect an
           officer’s – or anyone’s – situational awareness.164 Situational awareness is a term
           police and military trainers use to describe a personal safety trait, wherein individuals
           attempt to maintain awareness of all that is occurring around them, regardless of
           where their focus is.165
           In the law enforcement profession, officers are trained that, while perfect situational
           awareness is something to strive for, it is not really attainable, especially under high
           levels of stress. It is more often the case that an officer’s attention – or that of another
           person – will be narrowed, to a greater or lesser degree, on the focus of his or her
           attention, based upon the individual’s perception of need or danger. This is commonly
           referred to in law enforcement as perceptual narrowing.166
           Hence, an officer moving toward – or a citizen running away from – an emergency
           situation will sometimes pass other individuals without fully seeing them or even
           being aware of their existence.167 The officer or other individual may develop tunnel
           vision on a specific item or threat – such as a weapon in the hand of an adversary – to
           the exclusion of things occurring in his peripheral vision.168
           It is also common for individuals caught up in extremely stressful occurrences to
           experience another type of perceptual narrowing, an effect known as auditory
           exclusion.169 When perceptual narrowing occurs, it’s not uncommon for persons
           standing quite close to extremely loud sounds to be totally unaware of them, because
           they are so focused on the object of their concern, or on a particular goal, such as

     158
         3:00 am is equivalent to 0300 hrs.
     159
         Detroit Police Department Activity Log of Richard Billingslea and Hakeem Patterson, dated
         05/30/2017, MK000008–MK000009.
     160
         0531 hrs. is equivalent to 5:31 am.
     161
         Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem Patterson, CRISNET File
         Number 1705310034, dated 05/31/2017, p. 2.
     162
         0459 hrs. is equivalent to 4:59 am.
     163
         Detroit Police Incident/Investigation Officer Narrative, Case Number 170531-0034, dated
         05/31/2017, p. 4.
     164
         Situational awareness has long been recognized in the military, medical, research, and law enforcement
         fields. It is one of the cornerstones of risk management.
     165
         See, generally, Felter, B.A. (1988). Police Defensive Handgun Use and Encounter Tactics. New Jersey:
         Prentice-Hall.
     166
         Artwohl, A. (2002, October). Perceptual and Memory Distortion During Officer-Involved Shootings.
         FBI Law Enforcement Bulletin, 71(10), 18-24.
     167
         For a true-life, law enforcement example of this, see Chabris, C., & Simons, D. (2010). the invisible
         gorilla: And Other Ways Our Intuitions Deceive Us. New York: Crown.
     168
         Klinger, D. (2004). Into the Kill Zone: A Cop’s Eye View of Deadly Force. San Francisco: Josey-Bass.
     169
         Auditory exclusion is sometimes referred to in the literature as tunnel hearing.

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           escape. This frequently manifests as the failure to hear yelling or screaming; or even
           normal conversation, when one is focused intently on another stimulus. Police
           officers often experience such auditory exclusion at the end of a traffic pursuit, or
           during a shooting, wherein they find themselves confronting a dangerous individual,
           or while they are standing close to vehicle sirens that are still blaring.170
           Witnesses and suspects experience these effects as well. Officers know that it is
           common that witnesses to stressful events will often report very minute details about
           one specific aspect of a scene, a vehicle, or a weapon. Yet, those same witnesses will
           often be unable to relate even the most obvious elements of the same scene. They
           were so tunneled in on a very narrow focus, fixated on details, that macro elements of
           the same scene or event went completely unnoticed by them. Different people see the
           same scene from their own, unique, perspective.
           Conversely, other witnesses or officers may remember events differently, or may not
           remember some details of the event at all. One example of this is well known to law
           enforcement professionals; frightened171 or startled people often make mistakes in
           eyewitness identifications.

     12. RISK MANAGEMENT IN LAW ENFORCEMENT FORCE AND CONTROL.
           Risk management can be defined as the weighing of alternatives based upon an
           informed assessment of an acceptable balance of risk versus reward. When viewed
           from that perspective, all of criminal justice is engaged in daily risk management.
           However, there is no part of law enforcement that is more sensitive to an acceptable
           balance of risk versus reward, than the use of force and control by police officers.
           Managing Force and/or Control Options. Typically, once a police officer recognizes
           the need to take enforcement action or gain control of a situation, he – given time to
           do so – weighs the various alternatives available to him, and decides upon a course of
           action that is multi-dimensional in nature. However, one aspect of this
           decision-making process is particularly sensitive to a desirable outcome; the officer’s
           selection of a force or control tool, technique, weapon, procedure, or methodology.
           Ideally, the alternative selected should be effective in the short-term and generally
           safe to use (preferably for all concerned). But it should also be acceptable to those
           that will evaluate the outcome of the officer’s actions.
           Many force or control alternatives that appear safest to use are the least effective in
           the short-term, and many of the alternatives that are the most effective in the
           short-term are the least acceptable to those who would pass judgment on the outcome.
           Many of the options that an officer has for the use of control or force may appear – at
           least outwardly – to be inhumane and excessive, although research has shown that
           they may, in fact, be among the safer alternatives in terms of the potential for long




     170
         Ross, D. L., & Siddle, B. K. (2003). An Analysis of the Effects of Survival Stress in Police
         Use-of-Force Encounters. Law Enforcement Executive Forum, 3(2).
     171
         Wise, J. (2009). Extreme Fear: The Science of Your Mind in Danger. New York: Palgrave.

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           lasting or significant injury to the subject of the force or control, as well as to third
           parties and officers.172,173
           This real-life risk management dilemma can be summed up succinctly, as “the use of
           force [and control] is never pretty.”174 Today, members of the public are exposed to
           police use of force and control as they have never been before. Officers must still
           make their risk management decision, however, as they undertake to use force and
           control in assisting a victim, managing a situation, pursuing a suspect, making an
           arrest, or protecting themselves and others.
           When officers decide to use force or control, based on what they know and perceive
           at that moment, they are making a risk management decision.175 They are balancing
           their perceived need for the application of force or control against their perceived
           negative outcome of not using that force or control. Often the decision is of lesser
           significance, with a fairly mild likely outcome. At other times, the decision the officer
           makes can – quite literally – result in life or death. Often, the life or death dependent
           upon the decision of the officer is his own, or that of the person he is trying to assist
           or control.
           In the instant case. Unfortunately, sometimes the risk management decision is made
           for – instead of by – officers. In a situation like that reported at the convenience mart
           on May 31, 2017, events are compressed into a shorter period, resulting in less
           decision-making time. Michaele Jackson’s aggressive resistance, and sudden
           attack left Officer Billingslea with few options, and very little time to choose. Still,
           Billingslea attempted lower levels of control – including empty-hand techniques and
           pepper spray – before resorting to a physical take down of Jackson.
           Managing Risk Through Likely Outcomes. Another key element in an officer’s
           decision-making process regarding escalation and de-escalation of force and control
           is his knowledge of the likely outcome of his actions. Officers are trained to base their
           decisions on what they understand the likely outcome to be, not whatever could
           possibly happen. In a world where circumstances can combine in unexpected and
           unpredictable ways, yielding an infinite number of possible results, it is impossible
           for officers to base their decisions on the avoidance of any possibility of a negative,
           unanticipated outcome.176
           Instead, officers learn, from both their formal training and their experiences as
           officers, what the likely results of a particular action are. They are trained to then base
           their decisions on those likely outcomes.
           Many of the same concerns attach to an officer’s perception of the threat posed by the
           actions of other individuals. Officers are aware of the likelihood of injury posed by a
     172
         Ho, J. D., Dawes, D. M., Lundin, E. J., & Miner, J. R. (2009). 127: Comparison of Acidosis Markers
         Associated with Law Enforcement Applications of Force. Annals of Emergency Medicine, 54(3), S40.
     173
         Lundin, E. J., Dawes, D. M., Ho, J. D., Ryan, F.J., & Miner, J. R. (2009). 315: Catecholamines in
         Simulated Arrest Scenarios. Annals of Emergency Medicine, 54(3), S98-S99.
     174
         Joyner, C. (2011). Advanced Concepts in Defensive Tactics: A Survival Guide for Law Enforcement.
         Boca Raton FL: CRC Press. 9.
     175
         See, generally. Head, G. L. (1987). Essentials of the Risk Management Process, Vol. 1 & 2. Malvern
         PA: Insurance Institute.
     176
         This reflects another central tenet of risk management: One cannot manage away all risk.

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           subject’s perceived weapons and actions, but they are also mindful of the dearth of
           information they possess regarding a particular subject’s capabilities, purpose, and
           intent, as well as the unpredictability of a mentally detached or substance-influenced
           subject. For that reason, when considering an unknown subject’s risk factors, officers
           find themselves shifting their likelihood analysis further toward possible outcomes.
           This understanding of likely outcomes facilitates law enforcement risk management
           in its purest form. It allows officers to make reasonable decisions regarding how to
           respond to perceived resistance by a suspect, while also reducing the potential for
           injury to themselves and others. They are trained – and know – that, in their wisdom,
           the courts do not expect them to be perfect, only to be reasonable in their
           decision-making.177,178 “Officers are not required to use the least intrusive means
           available; they simply must act within the range of reasonable conduct.”179 To hold
           them to any other standard would be to prevent them from ever taking action in the
           face of resistance or the need to control someone in order to help them.
           In the instant case. In this case, Officer Billingslea had minimal time to consider
           options and outcomes. Attempting to wait in order to further discern a demonstrably
           aggressive and apparently intoxicated Michaele Jackson’s intent would leave himself,
           his partners, and others in the area, at risk. Once Jackson punched him, Billingslea
           had minimal time to reassess the situation, and immediately moved to take Jackson
           into custody. Richard Billingslea’s use of force actions were consistent with typical
           law enforcement training.

     13. USE OF FORCE AND CONTROL – GENERAL CONSIDERATIONS.
           Perspective of a Reasonable Officer on the Scene. Officers are trained – and
           know – that in determining whether or not a particular use of force or control was
           appropriate, and consistent with what other officers are likely to do under similar
           circumstances, one must view the event from the perspective of “a reasonable officer
           on the scene.”180 “Perspective also is crucial to the analysis: ‘[t]he only perspective
           that counts is that of a reasonable officer on the scene at the time the events
           unfolded.’”181
           The Rashomon Effect. In order to reach a satisfactory outcome to an encounter,
           officers bring their training, experience, skill sets, and education, with them as they
           begin an interaction with other individuals. When that interaction morphs into a
           situation wherein force or control may be necessary, an officer bases his
           decision-making on what he brought to the event, along with whatever information
           and sensory input he can absorb from his unique perspective in the moment.
           Each officer’s – and indeed each person’s – perspective is different, and is constantly
           evolving as an event unfolds. Another person or another officer – even one located
           just a few feet (or even inches) away – is likely to see the event differently, based not

     177
         Illinois v. Rodriguez, 497 U.S. 177, 185 (1990).
     178
         Dickerson v. McClellan, 101 F3d 1151, 1160 (6 Cir. 1996).
     179
         Brooks v. City of Seattle, 509 F.3d 1018, 1025 (9 Cir. 2010).
     180
         Graham, 396.
     181
         Jean-Baptiste, 816, citing Garczynski v. Bradshaw, 573 F.3d 1158, 1166 (11 Cir. 2009).

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           only on their physical relationship to the event, but also on their own unique set of
           filters;182 education, experience, training, or emotional attachment. This tendency to
           perceive events differently due to a difference in perspective is known as the
           Rashomon Effect, or the Rashomon Principle.183
           If asked for a value judgment, individuals are likely to have very different
           assessments of the need or justification for certain actions, based on their own unique
           perspective. However – particularly in use of force situations – officers are trained
           that an officer’s actions “must be judged from the perspective of a reasonable officer
           on the scene, rather than with the 20/20 vision of hindsight.”184,185
           Officers understand that “[T]he law does not require officers in a tense and
           dangerous situation to wait until the moment a suspect uses a deadly weapon to act to
           stop the suspect.”186
           Often the facts of a particular encounter give rise to some debate regarding whether
           an officer’s use of force in a specific situation met the criteria suggested by his or her
           department’s particular procedural guideline. In such cases, it’s important to
           remember that, in fact, since at least 1979, the courts have taken the position that
           “The test of reasonableness under the Fourth Amendment is not capable of precise
           definition or mechanical application.”187,188
           In the instant case. Whether an officer made correct or appropriate decisions during
           an encounter is often debated ad nauseam, after the fact, and with the luxury of time,
           by individuals who did not see rapidly evolving events through the eyes – and from
           the perspective – of that officer. However – as is often the case – during the rapidly
           evolving events of May 31, 2017, Officer Billingslea had very little time to react to
           what he knew to be an aggressive, resistant, probably intoxicated individual.

     14. ANALYSIS.
           Analysis Context. The following analyses of officer actions in the incident described,
           supra, are undertaken through application of commonly understood training and
           procedural criteria as they are presented and utilized throughout the law enforcement
           community. Utilization of specific terminology – including any legal terminology – is
           intended to clarify the relationship between this analysis and a broader criminal

     182
         Green, M., et al. (2008). Forensic Vision with Application to Highway Safety (3rd ed.). Tucson: Lawyers
         & Judges Publishing.
     183
         Heider, K. G. (1988). The Rashomon Effect: When Ethnographers Disagree. American Anthropologist,
         New Series, 90(1), 73-81.
     184
         Graham, 396.
     185
         Even a video camera will not capture things from an officer’s perspective, and with the perceptual
         context the officer has in the moment. The camera may capture some – or arguably, even most – of the
         what that is in front of the lens. However, it’s unlikely that any camera can really capture the why that
         controls the officer’s perception of the need to take a certain course of action; in this case, deciding on a
         particular level of force, or selection of a particular implement or technique for effecting control of the
         situation.
     186
         Long v. Slaton, 508 F.3d 576, 581 (11 Cir. 2007).
     187
         Graham, 396, citing Bell v. Wolfish, 441 U.S., 559.
     188
         Bell v. Wolfish, 441 U.S. 520, 559 (1979).

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           justice training, policy, and procedural context.189,190 In effect, this analysis is cast as
           a contextual application of typical law enforcement training.
           Use of Force by Officers – Generally. Officers are trained – and know – that if, when
           acting in their governmental capacity, they intentionally terminate someone’s
           freedom of movement, they are presumed to have effected a seizure,191 and that their
           use of force during a stop or an arrest is also a seizure,192 and is therefore evaluated
           from the perspective of the Fourth Amendment193 to the United States Constitution.194
           Officers are also trained, and know, that the United States Supreme Court outlined a
           Constitutional construct for reviewing government use of force, in the 1989 case,
           Graham v. Connor.195
           Use of Force Under Graham v. Connor. Reasonable law enforcement officers are
           trained – and know – that whether or not a particular use of force application was
           objectively reasonable196 under the Fourth Amendment is based upon an analysis of
           that use of force in light of three factors, among others:197
               •   “whether the suspect poses an immediate threat to the safety
                   of the officers or others”;
               •   “whether he is actively resisting arrest or attempting to
                   evade arrest by flight”;
               •   “the severity of the crime at issue”.198
           Reasonable officers are trained – and know – that in applying these criteria, the
           U. S. Supreme Court reiterated its earlier statement in Bell v. Wolfish,199 that the “test

     189
         As stated, supra, use of such terminology is not intended to subvert the function of the Court, or to
         inappropriately influence the role of the jury or other trier of fact.
     190
         Any discussion of case law reflects what I, as well as many – perhaps most – other law enforcement use
         of force trainers, have been researching, analyzing, and teaching, for many years. As is common
         practice throughout the law enforcement community, when this material is taught to officers, it is
         framed from an informed lay-person’s perspective, with the goal of having officers understand the
         practical application of the criteria that courts will generally hold them to, based on existing case law.
         This methodology is widely utilized in the law enforcement training community, and is geared to
         inculcate in officers a deeper appreciation and understanding of the rationale applied when use of force
         and/or control incidents are reviewed for justification.
     191
         Brower v. County of Inyo, 489 U.S. 593, 597 (1989).
     192
         Tennessee v. Garner, 471 U.S. 1 (1985).
     193
         U.S. Const. amend. IV.
     194
         Graham, 388.
     195
         Graham v. Connor, 490 U.S. 386 (1989).
     196
         See generally, Graham v. Connor, 490 U.S. 386 (1989).
     197
         Officers are trained that, while the Graham Court did not specify a particular hierarchy of importance
         for these factors, the Ninth Circuit – and other courts – have; perhaps most notably in the case
         Chew v. Gates, 27 F.3d 1432 (9 Cir. 1994), cert. denied, (U.S. Feb. 21,1995)(No. 94-980). This ordering
         of factors is commonly taught and emphasized in law enforcement use of force training, as well as in
         procedural guidelines. Thus, these factors are listed here in the order of importance seemingly
         considered by Graham’s progeny.
     198
         Graham, 396.
     199
         Bell v. Wolfish, 441 U.S. 520 (1979).

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           of reasonableness under the Fourth Amendment is not capable of precise definition or
           mechanical application.”200 Reasonable officers are also trained – and know – that
           this analysis is properly conducted “from the perspective of a reasonable officer on
           the scene, rather than with the 20/20 vision of hindsight”201 and is properly analyzed
           in light of the “totality of the circumstances” 202 facing the officer. Reasonable
           officers are further trained – and know – that, when reviewing the above (and other)
           factors, courts will consider the degree to which a given situation is “tense, uncertain,
           and rapidly evolving”203 when assessing the reasonableness of a particular use of
           force.
           Application of the Graham Factors to Billingslea’s Use of Force. With respect to the
           individual Graham factors, and without reiterating all the incident information
           discussed, supra:
              •   Immediacy of the threat. The immediate threat posed by Michaele Jackson
                  was that he was behaving irrationally and appeared to be intoxicated.
                  Billingslea perceived that Jackson had assaulted him twice, once at the door to
                  the convenience mart and once when Jackson violently punched him.
              •   Actively resisting arrest. Michaele Jackson actively and aggressively resisted
                  arrest for several minutes.
              •   Attempting to evade arrest by flight. While Jackson continued to move away
                  from Billingslea, it does not appear that he was attempting to flee.
                  Still, even if Jackson was not attempting to escape, it was not illogical for
                  Billingslea to believe he was, due to his constant movement. And – as stated
                  by the Fifth Circuit in Rockwell – “… neither the Supreme Court nor this
                  Court has ever held that all of the Graham factors must be present for an
                  officer’s actions to be reasonable; indeed, in the typical case, it is sufficient
                  that the officer reasonably believed that the suspect posed a threat to the
                  safety of the officer or others.”204 [emphasis in original]
              •   Severity of the crime at issue. The severity of Michaele Jackson’s reported
                  crime was significant. When Billingslea was violently assaulted by Jackson
                  punching him during his aggressive resistance, he [Billingslea] believed that
                  act constituted a violent felony.205
              •   Tense, uncertain and rapidly evolving. Finally, regarding Officer Richard
                  Billingslea’s altercation with Michaele Jackson, the situation was tense,
                  uncertain, and rapidly evolving. Consider that:


     200
         Graham, 396, citing Bell v. Wolfish, 441 U.S. 520, 559 (1979).
     201
         Graham, 396.
     202
         Graham, 396, citing Tennessee v. Garner, 471 U.S. 1, 8-9 (1985).
     203
         Graham, 396-7.
     204
         Rockwell v. Brown, 664 F.3d 985, 992 (5 Cir. 2011).
     205
         MCL § 750.81d(1) states, in pertinent part, “…an individual who assaults, batters, wounds, resists,
         obstructs, opposes, or endangers a person who the individual knows or has reason to know is
         performing his or her duties is guilty of a felony punishable by imprisonment for not more than 2 years
         or a fine of not more than $2,000.00, or both.”

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                  - The situation was tense, in that, as the incident began, Billingslea and
                    Patterson were faced with two individuals, one of whom was unknown to
                    Billingslea, appeared to be behaving irrationally, and was possibly
                    intoxicated.
                  - The situation was uncertain, in that Billingslea did not know why Jackson
                    was acting as he did, or how under the influence Jackson was. He did
                    know that he (Billingslea) had been assaulted by an individual that was
                    actively and aggressively resisting arrest, and had punched Billingslea
                    during his continuing resistance.
                  - The situation was rapidly evolving, in that, once the incident began, the
                    entire use of force unfolded very aggressively: One moment, Billingslea
                    was watching D’Marco Craft walk to his car following a verbal exchange;
                    the next moment he was assaulted by an unknown, possibly intoxicated,
                    individual, followed moments later by the same individual assaulting him
                    again by punching him during his continued, aggressive resistance.
           Consideration of Time and the Selection of Options. Although officers may
           sometimes have various courses of action open to them, and multiple use of force or
           control options for dealing with an individual, they often do not have time to study a
           situation in order to make a fully informed decision regarding which option to choose.
           Officers may approach a given situation with limited information, or without
           adequate time to analyze circumstances in detail. In those cases, officers often need to
           “make split-second judgments in circumstances that are tense, uncertain, and rapidly
           evolving.”206 In such a moment, officers will choose force or control options based on
           their perception of need or danger, and predicated on their assessment of the likely
           outcome of the option’s use. This decision is sometimes complicated by the relative
           ineffectiveness – or even the inadvisability – of different options, given the
           circumstances facing the officer.207,208
           Perhaps the most critical dimension that affects an officer’s choice of force or control
           option is that of time. Officers are trained that time often equals safety, and
           that – generally speaking – one of the clearest manifestations of time-as-safety is that
           of distance. Principally, this is reflected in officers’ understanding that, the closer you
           are to an adversary, the less time you will have to react to a sudden attack. This
           concept is referred to as reactionary gap.209 Officers are trained to create distance, if
           time and the environment allows. When they cannot do so, officers are acculturated to
           be hyper-sensitive to threat cues presented by the individual, or by the environment,

     206
         See generally, Graham v. Connor, 490 U.S. 386, 397 (1989).
     207
         Many force and control options fail under differing conditions. Even TASER electrical weapons – one
         of the most effective, non-lethal options officers have – do not work to control resistive behavior every
         time they are deployed. Some studies have indicated that their effectiveness rate can be as low as 50-60
         percent, given circumstances at the time of their deployment.
     208
         Mesloh, C., Wolf, R., Henych, M., & Thompson, F. (2008). Less Lethal Weapons for Law Enforcement:
         A Performance-Based Analysis. Law Enforcement Executive Forum. 8(1).
     209
         Reactionary gap has been defined as a range of distances, based upon the context of the encounter.
         Distances of 6 – 8 feet are frequently cited as the minimum acceptable for safety; although, depending
         on the weapon or tactics chosen by an adversary, ranges of 21 feet and beyond are not uncommon.

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           including the urgency of any expeditious resolution. Additionally, when they cannot
           create distance, officers are actually trained to close the distance quickly, to – in
           effect – shorten their adversaries’ reaction time. Plainly stated; if an officer can’t
           move back safely, they are trained to move in quickly. This maneuver is referred to as
           penetrating the gap.210
           In the instant case. As the incident at the convenience mart began to unfold, Officer
           Billingslea had to adjust very quickly. Because Billingslea had determined to take
           Jackson into custody, he – of necessity – moved in closer to Jackson. This increased
           Billingslea’s risk exposure, as he was well within Jackson’s arm’s reach. In effect,
           when Jackson suddenly turned to face him, Billingslea was caught inside the
           reactionary gap, at a point that law enforcement use of force trainers have long
           referred to as the inside position.211
           The Importance of Perspective. When officers are engaged in a physical control
           situation, it is they who are in the best position to assess the level of resistance or
           difficulty they are encountering. An individual reviewing an officer’s actions after the
           fact and conducting a detailed analysis, is sometimes tempted to apply his own
           reasoning, criticisms, and conclusions – ipse dixit – to the actions of that officer. It is
           easy to fall into this hindsight trap, yet the courts have steadfastly cautioned against
           it.212
           The twin luxuries of time and hindsight may make such an application seem logical
           and appropriate. However, officers are usually closest to the action – often in direct,
           physical, contact with the subject – and their perspective is likely to be different than
           that of a dispassionate reviewer or even a close-by observer.
           When engaged in a physical control situation, officers combine what knowledge they
           already have, with the information and feedback gained in the midst of the
           moment.213 In fact, they view events through the prism of context. Context is key,
           particularly as it relates to vision. Vision is highly context dependent.214 Someone
           else may see part or all – relatively speaking – of a series of events, but because their
           context is different, their perspective will often yield a different evaluation of the
           circumstances and outcome.
           When an officer views a sequence of events through his highly personalized prism of
           context, the result is each officer’s unique perspective regarding the totality of the
           circumstances they are dealing with.
           In the aftermath of an incident, it is common for a subject or witness to allege that
           officers were not threatened, that there was no intent to harm officers, that the witness

     210
         Siddle, B. K. (2005). PPCT Defensive Tactics Student Manual – Michigan edition. Belleville IL: PPCT
         Management Systems.
     211
         Siddle, B. K. (2004). PPCT Defensive Tactics Instructor Manual – United States edition. Belleville IL:
         PPCT Management Systems.
     212
         Penley v. Eslinger, 605 F.3d 843 (11 Cir. 2010).
     213
         Artwohl, A., & Christensen, L. W. (1997). Deadly Force Encounters: What Cops Need to Know to
         Mentally and Physically Prepare for and Survive a Gunfight. Boulder CO: Paladin Press.
     214
         Green, M., et al. (2008). Forensic Vision with Application to Highway Safety (3rd ed.). Tucson: Lawyers
         & Judges Publishing.

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           saw no aggressive behavior on the part of an individual, or that officers’ actions were
           unnecessary. However, the intent of a subject is not something an arresting,
           controlling, or pursuing, officer can know. Officers base their responses to perceived
           resistance on the behavior of subjects, and what that behavior conveys as a subject’s
           likely intent, as officers perceive it in the moment. Officers learn through both
           training and experience to react to pattern-recognition of threat or movement cues, as
           they manifest in an individual’s observed behavior.215 Those cues provide the basis
           for an officer’s perception of resistance or lack of control, and thus, danger.216
           The Necessity for or Reasonableness of Force and Control. Officers are trained – and
           know – that they need not use the least amount of force necessary,217,218 a quantity
           they can never effectively measure before the fact. Officers are trained – and
           know – that they are “entitled to continue his use of force until a suspect thought to
           be armed is ‘fully secured.’”219
           In fact, reasonable officers are trained, and know, that they “…are not required to use
           the least intrusive degree of force possible. Rather […] the inquiry is whether the
           force that was used to effect a particular seizure was reasonable, viewing the facts
           from the perspective of a reasonable officer on the scene.”220 And, they are trained
           that their use of force must be objectively reasonable under the totality of
           circumstances they encounter in a given situation.
           In the instant case. The degree of escalating risk to Officer Richard Billingslea – and
           others – posed by Michaele Jackson’s violent, dogged, resistance and aggressive
           actions, Billingslea’s lack of knowledge regarding who he was dealing with and what
           was happening, Jackson’s apparent intoxication and irrational behavior, the
           immediacy of the threat posed by Jackson once Jackson punched Billingslea, and
           Billingslea’s concern for the well-being of himself and his fellow officers (especially
           in light of D’Marco Craft’s distracting influence), all clearly combined to present
           Officer Richard Billingslea with a totality of the circumstances worthy of
           consideration.

     15. OPINIONS.
           Based on the items outlined above, as well as my general understanding of the case, I
           hold the following opinions, each to a reasonable – or higher – degree of professional
           certainty. These opinions are in addition to any statements of opinion I may have
           included, supra.



     215
         (2011). Stress and Decision Making. Federal Law Enforcement Training Center.
     216
         The Fifth Circuit stated in Harris v. Serpas, 745 F.3d 767, 773 (2014) citing Rockwell, 664 F.3d at 991,
         “The relevant law, however, does not require the court to determine whether an officer was in actual,
         imminent danger of serious injury, but rather, whether “the officer reasonably believe[d] that the suspect
         pose[d] a threat of serious harm to the officer or to others.””
     217
         As eloquently stated by Judge Tallman in his dissent, Bryan v. MacPherson, 630 F.3d 805, 818
         (9 Cir. 2010).
     218
         Forrester v. City of San Diego, 25 F.3d 804 (9 Cir. 1994).
     219
         Jean-Baptiste, 821, citing Crenshaw v. Lister, 556 F.3d 1283, 1293 (11 Cir. 2009).
     220
         Forrester, 808.

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         1. It is my opinion that the use of force and control by Detroit Police Officer Richard
            Billingslea, was based upon his perception that Michaele Jackson had assaulted
            him [Billingslea], had refused to comply with commands, and that he then
            physically resisted Billingslea’s attempts to gain compliance and control.
         2. It is my opinion that trained and experienced officers are likely to logically
            conclude that the reported actions of Michaele Jackson posed a threat or risk of
            serious injury or death to officers and others in the area.
         3. Further, it is my opinion that police officers who do so conclude, would likely
            determine that it was necessary to use force and control methods in order for
            Billingslea to reduce the likelihood of serious injury or death to himself and that it
            would be logical and appropriate for them to reach that conclusion, considering
            their training and experience.
         4. It is also my opinion that it is logical and appropriate to conclude that many of
            those officers, when faced with the same – or a substantially similar – situation as
            that reported by Officer Billingslea, would likely act in the same, or a similar,
            way as he did.
         5. It is my opinion that, if similarly trained and experienced, and faced with the same
            or similar reported circumstances, other reasonable police officers would believe
            that the conduct and actions of Officer Billingslea were lawful in placing
            Michaele Jackson under arrest for assault, and resisting arrest.
         6. It is my opinion that, if similarly trained and experienced, and faced with the same
            or similar reported circumstances, other reasonable police officers would believe
            that the conduct and actions of Officer Billingslea were lawful in using what force
            and control methods he did in his attempt to arrest and control Michaele Jackson.
         7. It is my opinion that, if similarly trained and experienced, and faced with the same
            or similar reported circumstances, other reasonable police officers would believe
            that the conduct and actions of Officer Billingslea were lawful in preventing Craft
            and/or Jackson from entering the convenience mart, while the other remained
            outside, thereby splitting the attention of the two officers, and putting them in a
            tactically disadvantageous situation, contrary to typical officer safety training and
            protocols.
         8. It is my opinion that Officer Billingslea’s perceptions regarding the use of force
            were consistent with known human factors research.
         9. It is my opinion that the later actions of Officer Billingslea regarding medical
            treatment for Michaele Jackson following the encounter were logical and
            appropriate, given the circumstances.

     16. COMPENSATION FOR STUDY AND TESTIMONY.
         Compensation for Study, Analysis, Testimony, and Travel. In addition to reasonable
         and customary reimbursement for expenses, I am compensated at a rate of $150.00
         per hour for study, review, research, analysis, and report preparation. I am




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            compensated at a rate of $200.00 per hour for testimony. My rate of compensation for
            travel is $75.00 per hour.221
            Compensation as of this Writing. As of this writing, I have not received any
            compensation for my services in this matter.
            As is my usual practice, my fees are not dependent upon my findings, or on the
            outcome of any legal action, mediation, arbitration, or the amount or terms of any
            settlement of any underlying cause, nor upon any contractual arrangement between
            defense or plaintiff’s counsel and any other person or party.

     17. EXHIBITS.
            The following exhibits are attached, and are to be considered part of this report.222
                 •   Exhibit I is a list of documents and materials that I have reviewed or
                     considered during the completion of this report.
                 •   Exhibit II is my Curriculum Vitae, which includes a list of publications that I
                     have authored or coauthored in the last ten years.
                 •   Exhibit III is a listing of cases in which I have testified as an expert at
                     deposition, hearing, or trial, in the last four years.
                 •   Exhibit IV is my complete Fee Schedule.




               August 22, 2019
                       DATE                                           STEVEN D. ASHLEY, MSC, MLS, ARM/P, AFSS, INCI
                                                                                    MONROE, MICHIGAN




     221
           My detailed Fee Schedule is attached as Exhibit IV.
     222
           In the electronic version of this report, each can be accessed directly by clicking on the underlined
           exhibit number.

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     EXHIBIT I – DOCUMENT LIST
                                         Last Reviewed/Updated August 22, 2019

          The following items were considered, reviewed, recalled, or referenced, by me during
          my analysis of this case and the development of this report. Some were provided by
          counsel, while others are the product of my research and/or consideration.

     DOCUMENTS
     1.    Plaintiffs’ Third Amended Complaint, Case Number 17-cv-12752, Document
           Number 72, PageID.920-PageID.965, Filed 01/30/2019.
     2.    Defendant’s Initial Disclosures with listed attachments, dated 01/02/2018.
           2.1.    Detroit Police Use of Force or Detainee Injury Report of Officer Hakeem
                   Patterson, CRISNET File Number 1705310034, dated 05/31/2017.
           2.2.    Detroit Police Use of Force or Detainee Injury Report of Officer Richard
                   Billingslea, CRISNET File Number 1705310034, dated 05/31/2017.
           2.3.    Detroit Police Incident/Investigation Report, Case Number 170531-0034,
                   dated 05/31/2017.
           2.4.    Detroit Police Incident Report Suspect List, Case Number 170531-0034,
                   dated 05/31/2017.
           2.5.    Detroit Police Incident Report Related Property List, Case Number 170531-
                   0034, dated 05/31/2017.
           2.6.    Detroit Police Incident/Investigation Officer Narrative, Case Number
                   170531-0034, dated 05/31/2017.
           2.7.    Detroit Police Daily Detail for 5th Precinct, Platoon 4, dated 05/31/2017.
           2.8.    Detroit Police Desk Blotter Report for 5th Precinct, Platoon 1, dated
                   05/30/2017.
           2.9.    DPD Employee Profile of PO Richard Billingslea, undated.
           2.10.   DPD Employee Profile of PO Hakeem Patterson, undated.
           2.11.   Detroit Police Department Manual, Section 101.11 Record Retention
                   Schedule [one page only], dated 2014, Page 10 of 14.
           2.12.   Detroit Police Department Activity Log of Officers Yossif Mana, Hakeem
                   Patterson, and Richard Billingslea, dated 04/27/2016.
           2.13.   Detroit Police Department Activity Log of Officers Moreland and Collins
                   (sic), marked 1 of 2, dated 10/09/2015.
           2.14.   Detroit Police Department Activity Log of Officers Moreland and Collins
                   (sic), marked 2 of 2, dated 10/09/2015.
           2.15.   Detroit Police Department Activity Log of Officers Glenn Bines and
                   Antoine Hill, dated 03/14/2017.



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          2.16.    Detroit Police Department Activity Log of Officers David Mays II and
                   Yossif Mana, dated 03/14/2017.
          2.17.    Detroit Police Incident/Investigation Report, Case Number 170315-0003,
                   dated 03/15/2017.
          2.18.    Detroit Police Department Reporting Officer Narrative of Officers Mana and
                   Mays, Case Number 170315-0003, dated 03/15/2017.
          2.19.    Detroit Police Incident Report Suspect List, Case Number 170315-0003,
                   undated.
          2.20.    Photocopy of cover of Detainee File Folder of D’Marco Craft, undated.
          2.21.    Detroit Police Detainee Input Sheet of D’Marco Craft, CRISNET Number
                   1703150003, dated 03/15/2017.
          2.22.    Detroit Police Department Mugshot Report of D’Marco Craft, dated
                   03/15/2017.
          2.23.    Detroit Police Impounded Vehicle form, dated 03/15/2017.
          2.24.    Detroit Police Department Activity Log of Officers Glenn Bines and
                   Antoine Hill, dated 03/14/2017.
          2.25.    Detroit Police Department Activity Log of Officers Moreland and Collins
                   (sic), marked 1 of 2, dated 10/09/2015.
          2.26.    Detroit Police Department Activity Log of Officers Moreland and Collins
                   (sic), marked 2 of 2, dated 10/09/2015.
          2.27.    Detroit Police Department Activity Log of Officers Yossif Mana, Hakeem
                   Patterson, and Richard Billingslea, dated 04/27/2016.
          2.28.    Detroit Police Department Activity Log of Officers David Mays II and
                   Yossif Mana, dated 03/14/2017.
          2.29.    Photocopy of cover of Detainee File Folder of D’Marco Craft, undated.
          2.30.    Detroit Police Detainee Input Sheet of D’Marco Craft, CRISNET Number
                   1703150003, dated 03/15/2017.
          2.31.    Detroit Police Department Mugshot Report of D’Marco Craft, dated
                   03/15/2017.
          2.32.    Detroit Police Impounded Vehicle form, dated 03/15/2017.
          2.33.    Detroit Police Incident/Investigation Report, Case Number 170315-0003,
                   dated 03/15/2017.
          2.34.    Detroit Police Department Reporting Officer Narrative of Officers Mana and
                   Mays, Case Number 170315-0003, dated 03/15/2017.
          2.35.    Detroit Police Incident Report Suspect List, Case Number 170315-0003,
                   undated.
     3.   Detroit Police Department Activity Log of Sergeant Randall Craig, dated
          05/30/2017, MK000002–MK000003.


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     4.   Detroit Police Department Activity Log of Glenn Bines, Naim Brown, and Antoine
          Hill, dated 05/30/2017, MK000004–MK000005.
     5.   Detroit Police Department Activity Log of Michael Bailey and Yossif Mana, dated
          05/30/2017, MK000006–MK000007.
     6.   Detroit Police Department Activity Log of Richard Billingslea and Hakeem
          Patterson, dated 05/30/2017, MK000008–MK000009.
     7.   Video Files.
          7.1.     Video file titled Camera 1.mp4, [length 00:15:39], UTC encode date
                   05/31/2017.
          7.2.     Video file titled Camera 2.mp4, [length 00:16:20], UTC encode date
                   05/31/2017.
          7.3.     Video file titled Camera 3.mp4, [length 00:19:04], UTC encode date
                   05/31/2017.
          7.4.     Video file titled Camera 4.mp4, [length 00:15:55], UTC encode date
                   05/31/2017.
          7.5.     Video file titled Camera 5.mp4, [length 00:15:31], UTC encode date
                   05/31/2017.
          7.6.     Video file titled Camera 9.mp4, [length 00:16:34], UTC encode date
                   05/31/2017.
          7.7.     Video file titled Composite- Gas Station Surveillance Video.mp4, [length
                   00:15:24], UTC encode date 05/31/2017.
          7.8.     Video file titled Naim Brown’s Body-Camera Video.mp4, [length 00:29:35],
                   no encode date.
          7.9.     Video file titled Craft’s Cell Phone Video.MOV, [length 00:03:02], UTC
                   encode date 05/31/2017.
          7.10.    Video file titled GLENNBINES054_201705310212_WFC1008671_
                   14707342.mp4, [length 00:0:03], no encode date.
          7.11.    Video file titled MICHAELBAILEY811_201705310137_WFC100
                   8600_14666645.mp4, [length 00:18:08], no encode date.
          7.12.    Video file titled NAIMBROWN842_201705310134_WFC1008651_
                   14707467.mp4, [length 00:29:35], no encode date.
          7.13.    Video file titled RICHARDBILLINGSLEA578_201705310133_WFC
                   1008769_14797676.mp4, [length 00:21:16], no encode date.
          7.14.    Video file titled YOSSIFMANA062_201705310136_133805_
                   194003392.mp4, [length 00:26:56], no encode date.
          7.15.    Video file titled YOSSIFMANA062_201705310137_WFC1008664_
                   14722557.mp4, [length 00:08:58], no encode date.
     8.   Deposition transcript of Richard Billingslea, dated 06/07/2019, with attached
          exhibits:

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          8.1.     Detroit Police Use of Force or Detainee Report of Richard Billingslea,
                   CRISNET File Number 1705310034, [marked Exhibit #5], dated
                   05/31/2017.
          8.2.     Detroit Police Incident/Investigation Report of Officer Richard Billingslea,
                   Case Number 170531-0034, [marked Exhibit #6], dated 05/31/2017.
          8.3.     Detroit Police Department Desk Blotter Report for 5th Precinct, Platoon 1,
                   [marked Exhibit #7], dated 05/30/2017.
     9.   Deposition transcript of D’Marco Craft, dated 06/11/2019, with attached exhibit:
          9.1.     Deposition Notice, [marked Exhibit Craft A], dated 06/11/2019.
     10. Deposition transcript of Glenn Bines, dated 06/07/2019.
     11. Deposition transcript of Michaele Jackson Jr., dated 06/21/2019, with attached
         exhibits:
          11.1.    Deposition Notice, [marked Exhibit Jackson #1], dated 06/21/2019.
          11.2.    Color Photograph, [marked Exhibit Jackson #2], dated 06/21/2019.
          11.3.    Color Photograph, [marked Exhibit Jackson #3], dated 06/21/2019.
          11.4.    Color Photograph, [marked Exhibit Jackson #4], dated 06/21/2019.
          11.5.    Color Photograph, [marked Exhibit Jackson #5], dated 06/21/2019.
          11.6.    Color Photograph, [marked Exhibit Jackson #6], dated 06/21/2019.
     12. Deposition transcript of Hakeem Patterson, dated 06/07/2019, with attached
         exhibits:
          12.1.    Color Photograph, [marked Exhibit #1], dated 06/07/2019.
          12.2.    Detroit Police Department Activity Log [one page only], [marked
                   Exhibit #2], dated 06/07/2019.
          12.3.    Video File titled Patterson Exhibit 3.mp4, [length 00:00:17], no encode date.
          12.4.    Detroit Police Use of Force or Detainee Injury Report of Hakeem Patterson,
                   CRISNET File Number 1705310034, [marked Exhibit #4], dated
                   05/31/2017.
     13. Deposition transcript of Antoine Hill, dated 05/31/2019, with attached exhibit:
          13.1.    Detroit Police Department Activity Log [one page only], [purportedly
                   marked Exhibit 2 (sticker is illegible)], unknown date.
     14. Deposition transcript of Bryan Moore, dated 05/29/2019.
     15. Deposition transcript of David Mays, II, dated 05/31/2019.
     16. Deposition transcript of Michael Bailey, dated 05/29/2019.
     17. Deposition transcript of Naim Brown, dated 05/31/2019.
     18. Deposition transcript of Randall Craig, dated 04/29/2019.
     19. Deposition transcript of Yossif Mana, dated 05/31/2019.


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     20. Video recording and transcript of the deposition of Mohammad Almasmary, dated
         06/17/2019.
     21. “Weather for Coleman A. Young Airport, Detroit, MI for May 31, 2017”. Weather
         Underground, 31 May 2017, https://www.wunderground.com/history/daily/us/mi/
         detroit/KDET/date/2017-5-31. Accessed and retrieved by Steve Ashley on 8 July
         2019.
     22. “Weather for Coleman A. Young Airport, Detroit, MI for May 30, 2017”. Weather
         Underground, 30 May 2017, https://www.wunderground.com/history/daily/us/mi/
         detroit/KDET/date/2017-5-30. Accessed and retrieved by Steve Ashley on 8 July
         2019.
     23. “Sun and Moon Data for One Day for Wednesday, May 31, 2017”; U.S. Naval
         Observatory Astronomical Applications Department; https://aa.usno.navy.mil/
         rstt/onedaytable?ID=AA&year=2017&month=5&day=31&state=MI&place=
         Detroit. Accessed and retrieved by Steve Ashley on 8 July 2019.
     24. Additional PACER Documents, case 2:17-cv-12752-GAD-MKM.
          24.1.    Defendants’ Preliminary Witness List, Document 67, date filed 12/17/2018,
                   PageID.841–847, with attachment:
                   24.1.1. Curriculum Vitae of Steven D. Ashley, [dated 07/23/2011],
                           Document 67-1, date filed 12/17/2018, PageID.848–862.
          24.2.    Plaintiffs’ Initial Witness List, Document 68, date filed 01/02/2019,
                   PageID.863–868.
          24.3.    Richard Billingslea’s Answer to Plaintiffs’ Third Amended Complaint,
                   Reliance Upon Jury Demand, Special and Affirmative Defenses, and
                   Demand for Reply, Document 84, date filed 03/04/2019,
                   PageID.1311–1355.
          24.4.    Plaintiffs’ Reply to Defendant Richard Billingslea’s Special and Afrirmative
                   [sic] Defenses, ECF #84, Document 95, date filed 03/13/2019,
                   PageID.1482–1485.
          24.5.    Order Granting Attorney Gregory B. Paddison’s Motion to Withdraw as
                   Counsel for Defendant Richard Billingslea [#100], Granting Defendants’
                   Motion to Extend Discovery and Dispositive Motion Cut-Off Dates [#106],
                   and Amending Scheduling Order, Document 121, date filed 05/22/2019,
                   PageID.2070–2071.
          24.6.    Defendants, City of Detroit, Hakeem J. Patterson, Yossif Mana, Antoine
                   Hill, Glenn Bines, David Mays, II, Naim Brown, Michael Bailey, Randall
                   Craig, and Bryan Moore’s First Supplemental Witness List, Document 138,
                   date filed 08/05/2019, PageID.2673–2680.
          24.7.    “Corrected” Brief in Support of Defendant Richard Billingslea’s Motion for
                   Summary Judgment, Document 151, date filed 08/19/2019,
                   PageID.5119–5157.




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     25. Defendants, City of Detroit, Hakeem J. Patterson, Yossif Mana, Antoine Hill,
         Glenn Bines, David Mays, II, Naim Brown, Michael Bailey, Randall Craig, and
         Bryan Moore’s Expert Disclosure for Timothy K. McGuckin, with attachments:
          25.1.    Cover letter from Seward Henderson PLLC to Solomon M. Radner. Esq.,
                   dated 08/20/2019.
          25.2.    Exhibit 1, Expert Report of Defense Purported Expert Timothy K.
                   McGuckin, dated 08/16/2019, with incorporated attachment:
                   25.2.1.     Michigan Penal Code §750.81d.
          25.3.    Exhibit 2, Expert Witness Compensation Schedule, undated.




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     Police Marksman, 27(6). 20-28.
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     Cause of Officer Fatalities – When Every Second Counts: Analysis of Officer Movement
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     of officer positioning on movement during a threatening traffic stop scenario. Law
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     Behavioral Science Factors in the “Stop Shooting” Response. Law Enforcement
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     Brooks v. City of Seattle, 599 F.3d 1018 (9 Cir. 2010).

     Brower v. County of Inyo, 489 U.S. 593, 597 (1989).

     Bryan v. MacPherson, 630 F.3d 805 (9 Cir. 2010).

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     (No. 94-980).

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     Forrester v. City of San Diego, 25 F.3d 804 (9 Cir. 1994).

     Garczynski v. Bradshaw, 573 F.3d. 1158 (11 Cir. 2009).

     Graham v. Connor, 490 U.S. 386 (1989).

     Harris v. Serpas, 745 F.3d 767, 773 (2014).

     Illinois v. Rodriguez, 497 U.S. 177 (1990).

     Jean-Baptiste v. Gutierrez, 627 F.3d 816 (11 Cir. 2010).

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     Penley v. Eslinger, 605 F.3d 843 (11 Cir. 2010).

     Rockwell v. Brown, 664 F.3d 985 (5 Cir. 2011).

     Rudlaff v. Gillispie, 791 F3d 638, 641 (6 Cir. 2015).

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     EXHIBIT II – CURRICULUM VITAE


                                  STEVEN D. ASHLEY
                                                15 Custer Court
                                             Monroe, Michigan 48161
      Voice: 517.548.2275           Cell: 248.467.1541         Facsimile: 734.749.1321
          E-Mail: Steve@PoliceRisk.com              Web Site: www.PoliceRisk.com

                                            Last Reviewed/Updated August 22, 2019


     SPECIAL QUALIFICATIONS
         •   15 Years as a full-time, sworn, law enforcement officer and manager.
         •   12 Years as a full-time risk management professional, specializing in law
             enforcement, criminal justice, security, and corrections risk management.
         •   Over 40 years as a criminal justice trainer in the areas of high-risk activity,
             training, and training management.
         •   Completed over 6,000 hours of law enforcement, emergency management, risk
             management, and public safety related training.
         •   Personally delivered over 15,000 hours of training to over 16,500 law
             enforcement and corrections officers and managers, more than 8,000 hours of
             which was instructor- or Master-level training.
         •   Earned and received certification as a Master Use of Force Instructor, Advanced
             Force Science Specialist, Master Force and Control Instructor, Certified Force
             Science Analyst, Master Excited Delirium/Agitated Chaotic Event Instructor, and
             TASER Senior Master Instructor.
         •   Instructor Graduate of the Law of Self Defense Instructor Program, Law of Self
             Defense Institute.
         •   10 years as Police Academy Use of Force/Driver Training Coordinator.
         •   Earned and received state approval as lead police academy Firearms Instructor.
         •   Earned and received state approval as lead police academy Driving Instructor.
         •   Designed and developed many training programs, presentations, and curricula.
         •   15 years management experience spanning both the public and private sectors.
         •   Personally conducted on-site risk management reviews of more than 400 law
             enforcement agencies and jails in more than seven states, examining all aspects of
             law enforcement and corrections management, practices, and operations.
         •   Personal critical reviews of more than 500 law enforcement and corrections
             Policy and Procedure Manuals, from agencies across the United States.




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           •   Advisory Board Member (§ 1701) for the OSS Academy, a Texas state-licensed
               education provider, approved by the Texas Commission on Law Enforcement223
               to provide required in-service training as well as other courses.
           •   Subject Matter Expert for the Michigan Law Enforcement Officers Training
               Council,224 in the development of the Michigan Emergency Vehicle Operations
               Instructor Manual.
           •   Subject Matter Expert and Content Review Specialist for the Michigan Law
               Enforcement Officers Training Council, in the development of the Michigan Law
               Enforcement Driver Training Reference Guide.
           •   Subject Matter Expert for the Mississippi Department of Public Safety, Standards
               and Training Division, in the development of the Mississippi Detention
               Officer Course.
           •   Subject Matter Expert for the Mississippi Department of Public Safety, Public
               Safety Planning Division, in the development of the Mississippi Model Law
               Enforcement Policies & Procedures program.
           •   Subject Matter Expert for the Mississippi Department of Public Safety, Public
               Safety Planning Division, in the development of the Mississippi Model Jail
               Policies & Procedures program.
           •   Subject Matter Expert for the Michigan Law Enforcement Officers Training
               Council, in the development of the Michigan Law Enforcement Officer-Subject
               Control Continuum.
           •   Subject Matter Expert for the Illuminating Engineering Society of North America,
               Security Lighting Committee and Security Lighting Committee on
               Lighting and Crime.
           •   Published author and frequent guest lecturer on the subjects of management of
               high-risk police and corrections activity, use of force, pursuit driving and vehicle
               operations, law enforcement and corrections procedures and practices, training,
               training management, risk management, and other public safety related topics.
           •   Author, columnist, and contributor to criminal justice publications, including Law
               Officer, PoliceMag.com, Law and Order, Police and Security News, The ASLET
               Trainer, Law Enforcement Technology, Police Magazine, Answering the Call,
               The ILEETA Review, The ILEETA Chronicle, and Officer.com.

     FORMAL EDUCATION
      Associate in Risk Management / Public Entities, Insurance Institute of America                 2000
      Master of Liberal Studies in Technology [CJ], Eastern Michigan University                      2000
      Associate in Risk Management, Insurance Institute of America                                   1991
      Master of Science in Criminal Justice [Management], Michigan State University                  1988
      School of Police Staff and Command, Northwestern University                                    1987

     223
         TCOLE, i.e., the Texas Commission on Law Enforcement, was formerly known as TCLEOSE, i.e., the
         Texas Commission on Law Enforcement Officer Standards and Education.
     224
         Originally known by the initialism MLEOTC; now renamed as the Michigan Commission on Law
         Enforcement Standards, i.e., MCOLES.

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      Bachelor of Arts in Communications, Michigan State University                               1982
      Police Officer Certification, Southeast Regional Criminal Justice Training Center           1976

     CURRENT EMPLOYMENT
     2013 to Present – Concordia University, Ann Arbor, Michigan
          Adjunct Professor. Justice & Public Policy, Haab School of Business. Teaching
          various law enforcement, corrections, criminal justice, risk management, and public
          policy subjects to undergraduate and graduate students at a traditional,
          brick-and-mortar university. Actively assist with program and curriculum
          development.
     2005 to Present – OSS - Law Enforcement Advisors®, Spring, Texas
          Law Enforcement Advisor®. Contracted law enforcement advisor and risk manager,
          providing services, assessments, and consultation to other law enforcement and
          corrections professionals, adjusters, and legal professionals.
          OSS Academy® - TCOLE Advisory Board Member of the OSS Academy, which is a
          Texas state-licensed education provider. In addition to serving on the Board, I am an
          instructor, course developer, and Quality Assurance Specialist. Curriculum includes
          both instructor-led training and E-learning for law enforcement, corrections, security,
          telecommunications, and public-sector risk managers.
     1993 to Present – CIRMAT, Inc., Monroe, Michigan
          Owner. Specializing in law enforcement and corrections risk management and
          consulting services, and training of criminal justice trainers and managers. Case
          consultation services specializing in police and corrections high-risk activity, with
          primary emphasis in management of force/control, motor vehicle operations, and
          arrest procedures.

     EMPLOYMENT HISTORY
     2004 to 2013 – Northrop-Grumman Corporation, Galloway, New Jersey
          Instructional Technologist. Deliver training on security procedures to transportation
          security personnel at airports across the United States. Train and certify Screeners in
          the use of equipment and techniques for screening checked baggage. Certified to
          train on equipment currently in use by Transportation Security Administration
          Baggage Screeners.
     2001 to 2009 – Police Policy Studies Council, Spofford, New Hampshire
          Staff member and co-owner. Served as a police use of force, motor vehicle
          operations, and arrest techniques, trainer and consultant. Developed and delivered
          training programs to police, corrections, and other municipal executives and trainers.
          Consulted in police use of force cases, police driving, arrest tactics, and general law
          enforcement procedures.




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     1986 to 2008 – Washtenaw Community College, Ann Arbor, Michigan
          Force management, firearms, use-of-force, and police driving instructor. Appointed
          as Police Academy Use of Force/Driver Training Coordinator from 1996 to 2005.
          Chief Firearms Instructor and Chief Driving Instructor. Responsible for
          conceptualizing, planning, developing, and delivering, many training programs at
          both the academy and in-service levels, for police, corrections, security, and Natural
          Resources officers, including instructor training in various use of force disciplines, as
          well as police driving.
     2002 to 2003 – AIS, Inc., Renton, Washington
          Master Instructor. Last assignment was as a subcontractor with Boeing Corporation,
          conducting baggage screener training throughout the United States. One of only 35
          (out of 1,600) training staff that were transitioned to Boeing from AIS, for the
          purpose of fulfilling the federal “bridge” contract for baggage screener training.
          Initially employed under a U.S. Government contract for the Transportation Security
          Administration. Certified as one of only 30 BST Master Instructors, with
          responsibility for training and supervising baggage screeners and baggage screener
          trainers throughout the United States. Certified to train on screening machines in use
          by federal transportation security baggage screeners.
     2000 to 2003 – Legal Defense Manual, East Lansing, Michigan
          Co-Owner and Executive Editor. Responsible for writing articles, as well as editing
          and publishing a publication which focused on legal and managerial issues in law
          enforcement and corrections.
     1999 to 2001 – American Risk Pooling Consultants, Inc., Southfield, Michigan
          Manager of Loss Control Development and Director of Law Enforcement Risk
          Control. Direct responsibility for management of two company subsidiaries located
          in Iowa and Ohio, providing direction and supervision to loss control employees.
          Conducted specialized field loss control assessments of public safety agencies, jails,
          and other municipal practices and facilities.
     1992 to 2002 – Smith & Wesson Academy, Springfield, Massachusetts
          Adjunct Faculty. Develop and present training programs geared toward use of force
          management skills. Develop curricula and present training in advanced use of force
          and firearms skills for police, security, and corrections trainers and training
          managers.
     1991 to 1998 – Meadowbrook Insurance Group, Southfield, Michigan
          Public Entity Loss Control Manager. Direct management responsibility for loss
          control staff members, and coordination of Public Entity oriented loss control
          programs for insurance coverage pools and individual public and private clients in
          six states. Planned and structured delivery of services to approximately 50 client
          corporations, developed and assisted with the presentation of new marketing
          approaches, assured coordinated communications between internal company units,
          and with external customers and fellow contractors. Conducted specialized field loss
          control assessments of municipalities, public safety agencies, and jails. Other

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          responsibilities included development of service plans and budgeting for multiple
          programs, coordination of personnel and resources to fulfill diverse client needs, and
          allocation/utilization of resources.
          Formerly, Director of Law Enforcement Risk Control. Responsibilities included
          day-to-day, hands-on management, development of service plans, coordination,
          budget management, and frequent interaction with both internal company units and
          clients. Primary responsibility for the design and implementation of a risk control
          program for approximately 900 law enforcement and corrections agencies in five
          states. Conducted many on-site risk assessments of public safety agencies, jails, and
          other municipal facilities and practices.
     1989 to 1991 – Governmental Risk Managers, Inc., Plymouth, Michigan
          Risk Control Manager. Direct responsibility for planning, implementation, and
          delivery of risk control services to two public entity insurance pools that collectively
          represented approximately 1,200 governmental jurisdictions. Responsibilities
          included day-to-day hands-on management, development of service plans,
          budgeting, coordination of service delivery, marketing assistance, assessment of
          results, and resource allocation. Conducted specialized field loss control assessments
          of municipalities, public safety agencies, and jails.
          Previously served as a Risk Control Consultant, specializing in general liability,
          administration, personnel practices, training, law enforcement and corrections risk
          management, and program development. Conducted many specialized field loss
          control assessments of municipalities, public safety agencies, and jails.
     1978 to 1989 – Livingston County Sheriff Department, Howell, Michigan
          Served as road patrol deputy sheriff on all three shifts, and as afternoon shift
          commander. Final five-year assignment was as Staff Services Administrator, with
          department-wide responsibility for training all law enforcement and corrections staff;
          community service/crime prevention programs for Michigan’s fastest growing
          county; departmental policy research, development, and implementation; and
          departmental county-wide emergency management.
     1974 to 1978 – Various police employment as a Patrol Officer and Sergeant,
          at smaller departments, including Fowlerville, Pinckney, Webberville, and Perry,
          Michigan. My duties included patrol, investigations, training, and supervision of
          other officers.

     EXPERT CASE CONSULTATION
          I have provided expert consultation and review in more than 170 cases since 1994,
          approximately 75% of which have been defense cases. During the same years, I have
          testified as an expert – at deposition, hearing, or trial – 47 times in 41 cases,
          approximately 65% of which have been defense cases.

     MEMBERSHIP ASSOCIATIONS & VOLUNTEER ACTIVITIES
          •    Alpha Phi Sigma, National Criminal Justice Honor Society

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          •    American Civil Liberties Union – Former Member
          •    American Jail Association – Former Member
          •    American MENSA
          •    American Red Cross – Livingston County Chapter, Board of
               Directors – Past Member
          •    American Society of Law Enforcement Trainers (ASLET) – Charter Member
               (former Region 5 Director, formerly Michigan State Director)
          •    American Society for Testing and Materials, International (ASTM) – Voting
               Member
          •    Concerns of Police Survivors (COPS) – Family/Survivor Member
          •    Concordia University Criminal Justice Alliance – Faculty Member/Co-Advisor
          •    Concordia University Justice & Public Policy – Advisory Council
          •    Concordia University School of Business – Advisory Council
          •    Illuminating Engineering Society of North America – Professional Member
          •    International Association of Chiefs of Police (IACP)
          •    International Association of Correctional Training Personnel
               (IACTP) – Professional Member
          •    International Association of Directors of Law Enforcement Standards and
               Training (IADLEST)
          •    International Association of Law Enforcement Emergency Vehicle Response
               Trainers (ALERT)
          •    International Association of Law Enforcement Firearms Instructors (IALEFI)
          •    International Foundation for Protection Officers – Former Member
          •    International Law Enforcement Educators and Trainers Association (ILEETA) –
               Advisory Board, Managing Editor Emeritus, and Founding Member
          •    Lakewood Research Training Group – Former Member
          •    Law Enforcement & Emergency Services Video Association,
               International (LEVA)
          •    Michigan Association of Chiefs of Police (MACP) – Active Member
          •    Michigan Commission on Law Enforcement Standards – Former Member,
               Training Advisory Committee (Ad-Hoc)
          •    Michigan News Broadcasters Association – Former Member
          •    Mississippi Department of Public Safety, Public Safety Planning
               Division – Subject Matter Expert
          •    Mississippi Department of Public Safety, Standards & Training
               Division – Subject Matter Expert
          •    MSU Alumni Association – Life Member
          •    National Law Enforcement Academy Resource Network (NLEARN) – Member
          •    National Rifle Association (NRA) – Benefactor (Life) Member
          •    Northwestern University Traffic Institute Alumni Association
          •    OSS Academy – TCOLE Advisory Board Member (§ 1701)

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          •    Phi Kappa Phi Academic Honor Society
          •    Police Marksman Association – Life Member
          •    Society for Police and Criminal Psychology – Active Member

     INSTRUCTOR / ARMORER CERTIFICATIONS COMPLETED / EARNED
          •    Advanced Driving Techniques Instructor, General Motors Corporation
          •    Advanced Firearms Instructor, Washtenaw Community College
          •    Advanced Officer Survival Instructor, Washtenaw Community College
          •    Aerosol Chemical Munitions Instructor, AERKO International
          •    Aerosol Chemical Weapon Instructor-Trainer, AERKO International
          •    AXON/Evidence.com Instructor, TASER International
          •    Baggage Screener Training Master Instructor, Advanced Interactive Systems
          •    Below 100 Officer Safety Instructor, Law Officer Initiative
          •    Certified Baggage Screener Trainer, Transportation Security Administration
          •    Certified Field Training Officer, MLEOTC
          •    Chemical Agents Decontamination Instructor, National Association of Tactical /
               Medical Response
          •    Chemical Munitions Instructor, Smith and Wesson Academy
          •    Civilian Safety Awareness Program Instructor, SABRE
          •    Defensive Driving Instructor, National Safety Council
          •    Defensive Tactics Instructor, PPCT Management Systems
          •    Driving Instructor, Federal Law Enforcement Training Center
          •    Emergency Vehicle Operations Instructor – EVO (MLEOTC),
               Lead Academy Instructor Certified
          •    Excited Delirium/Agitated Chaotic Event Master Instructor, Institute for the
               Prevention of In-Custody Deaths
          •    FATS Instructor Trainer, FATS, Inc.
          •    Firearms Instructor, Federal Law Enforcement Training Center
          •    Firearms Instructor, National Rifle Association
          •    Firearms Instructor / Range Officer, Lansing Community College
          •    Firearms Instructor (MLEOTC), Academy Instructor Certified
          •    Firearms Instructor (MLEOTC), Lead Academy Instructor Certified
          •    Firearms Program Management, Smith and Wesson Academy
          •    Firearms Retention/Disarming Techniques Instructor, Defensive
               Tactics Institute
          •    First Aid Instructor, American Red Cross
          •    Flashlight Defensive Tactics Instructor, Defensive Tactics Institute
          •    Glock Armorer, Glock, Inc., Macomb Community College
          •    Handcuffing & Restraint Techniques Instructor, Defensive Tactics Institute


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          •    Identification, Prevention, Management and Investigation of Sudden and
               In-Custody Death Instructor (3 awards), Institute for the Prevention of
               In-Custody Deaths
          •    Impact Weapons Instructor, PPCT Management Systems
          •    Interactive Training Instructor, Smith & Wesson Academy
          •    Kubotan Techniques Instructor, Defensive Tactics Institute
          •    Law Enforcement Rifle Instructor, Smith & Wesson Academy
          •    Management of Aggressive Behavior (MOAB) for Public Safety
               Instructor, PPCI, Inc.
          •    Metal-Tec 1400 Instructor, Metal-Tec, Inc.
          •    Michigan Traffic Radar Instructor, Michigan State University
          •    Mossberg Field Armorer, O.F. Mossberg & Sons, Inc.
          •    Nationally Certified Instructor – Charter Member (INCI), International
               Association of Directors of Law Enforcement Standards and Training
          •    OCAT Aerosol Weapon Instructor-Trainer, National Criminal Justice
               Training Council
          •    Officer Survival Instructor, PPCT Management Systems
          •    Oleoresin Capsicum Law Enforcement and Corrections Instructor,
               MSI-Mace, Inc.
          •    Police Narcan Instructor, Gendarme Consulting Group
          •    Police Drivers’ Training Instructor, Saint Publications
          •    Police Precision Driving Instructor, Macomb Community College
          •    Police Precision Driving Instructor (MLEOTC), Academy Certified
          •    Police Pursuit Driving Policy Instructor, National Highway Traffic
               Safety Administration
          •    Radiological Monitoring Instructor, Federal Emergency Management Agency
          •    Re-Creating Stress Instructor, Mission Critical Concepts, LLC
          •    Refuse to be a Victim® Instructor, National Rifle Association
          •    Remington Armorer, Remington Arms Co.
          •    Remington Shotgun Maintenance Armorer, Remington Arms Co. / Washtenaw
               Community College
          •    Revolver Armorer, Smith and Wesson Academy
          •    Sabre OC Aerosol Projector Instructor, Security Equipment Corporation
          •    Safariland Use of Force Instructor, Safariland Training Group
          •    Semi-Automatic Pistol Instructor, Smith and Wesson Academy
          •    Sexual Harassment, Assault, Rape Prevention (SHARP) Instructor,
               PPCT Management Systems
          •    Shotgun Instructor, Smith and Wesson Academy
          •    Sig-Sauer Armorer, SigArms, Inc.
          •    SkidCar™ System Instructor, SkidCar, Incorporated


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          •    Springfield Armory XD Armorer, Team One Network / Northeast Wisconsin
               Technical College
          •    Stinger Instructor, Stinger Systems
          •    Stinger S-200 Intermediate Instructor, Stinger Systems
          •    Stop Stick Controlled Tire Deflation Device Instructor, StopTech, Ltd.
          •    Stop Stick Controlled Tire Deflation Device Instructor-Trainer, StopTech, Ltd.
          •    Tactical OC Instructor, Defensive Tactics Institute
          •    TASER Armorer, TASER International
          •    TASER Electronic Control Device Instructor, TASER International
          •    TASER Master Instructor, TASER International
          •    TASER Senior Master Instructor, TASER International
          •    TASER Technician, TASER International
          •    Use of Force By-the-Numbers® Instructor, Institute for the Prevention of
               In-Custody Deaths
          •    Use of Force Instructor, Michigan Municipal Risk Management Authority
          •    Use of Force Instructor, National Criminal Justice Training Council
          •    Wrap Restraint System Instructor, Safe Restraints, Inc.

     CERTIFICATE INSTRUCTOR PROGRAM COMPLETED / EARNED
          •    Law of Self Defense Instructor Program, Law of Self Defense Institute

     CAREER CERTIFICATIONS COMPLETED / EARNED
          •    Advanced Force Science Specialist, Force Science Institute
          •    Advanced Police Officer Training Certification (4 awards), Michigan Law
               Enforcement Officers Training Council (now MCOLES)
          •    Associate in Risk Management, Insurance Institute of America
          •    Associate in Risk Management for Public Entities, Insurance
               Institute of America
          •    Certified Breathalyzer Operator, Michigan State Police
          •    Certified Force Science Analyst, Force Science Institute
          •    Certified Law Enforcement Instructor, Arkansas Commission on Law
               Enforcement Standards and Training
          •    Certified Litigation Specialist (2 awards), Americans for Effective Law
               Enforcement (AELE)
          •    Certified TASER Technician/Armorer, TASER International
          •    Emergency Medical Technician, State of Michigan
          •    Evidence Collection and Analysis, AXON Enterprise
          •    Excited Delirium/Agitated Chaotic Event Master Instructor, Institute for the
               Prevention of In-Custody Deaths



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          •    IADLEST Nationally Certified Instructor – Charter Member (INCI),
               International Association of Directors of Law Enforcement Standards and
               Training
          •    Master Force & Control Instructor, Smith & Wesson Academy
          •    Master Use of Force Instructor, Police Policy Studies Council
          •    OSHA Compliance Assurance Certification
          •    Police Management Development Certification (3 awards), Michigan Law
               Enforcement Officers Training Council (now MCOLES)
          •    Police Officer Certification, Michigan Law Enforcement Officers Training
               Council (now MCOLES)
          •    Police Supervisor Development Certification, Michigan Law Enforcement
               Officers Training Council (now MCOLES)
          •    Qualified Accident & Illness Prevention Service Provider, Commonwealth of
               Pennsylvania, Bureau of Worker’s Compensation
          •    TASER Senior Master Instructor, TASER International (now AXON)
          •    Texas Loss Control Representative, Texas Department of Insurance

     AWARDS AND RECOGNITION
          •    Citation for Bravery, Pinckney Police Department
          •    Life Saving Citation, Livingston County Sheriff Department
          •    Outstanding Academic Achievement – 1998, Eastern Michigan University
          •    Outstanding Academic Achievement – 1999, Eastern Michigan University
          •    Most Competent Instructor – Corrections Officers Academy, Washtenaw
               Community College

     PUBLICATIONS (IN THE PAST TEN YEARS)
     Risk Management for Trainers: A Continuing Series on Applied Risk Reduction,
            The ILEETA Chronicle, Volume 4, Number 1, December, 2009
     No Money is No Excuse: Cutting Training Budgets Due to Lack of Funding is No
            Excuse, Officer.com Online Magazine, February, 2009
     Weapons, Weapons Everywhere: The World is Full of Weapons, So Choose Wisely,
            Officer.com Online Magazine, February, 2009
     Watch Your Mouth! Someone Might Make You Eat Your Words, Officer.com Online
            Magazine, January, 2009
     Your Pen is Trying to Kill You, Officer.com Online Magazine, January, 2009
     Avoid PowerPointlessness: From Preparation through Delivery, The ILEETA Chronicle,
            Volume 3, Number 1, December, 2008
     Officer Down! Thankfully We’re Hearing that Less, Officer.com Online Magazine,
            December, 2008
     Risk Management for Trainers: A Continuing Series on Applied Risk Reduction,
            The ILEETA Chronicle, Volume 3, Number 1, December, 2008

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     Resistance is Futile, Officer.com Online Magazine, December, 2008
     Training: How Much is Enough? Officer.com Online Magazine, November, 2008
     Write Your Report! Officer.com Online Magazine, November, 2008
     Explain it to me Like I’m a Six-Year Old, Officer.com Online Magazine, October, 2008
     Stay Alert for Falsehoods: A Little Knowledge is a Dangerous Thing, Officer.com Online
             Magazine, September, 2008
     TASER C2 – Go Prepared in Style, New American Truth, September, 2008
     We’ve Got a Real Problem in Police Work, Officer.com Online Magazine, August, 2008
     Duty Gear is Good – Except When It’s Not, Officer.com Online Magazine, August, 2008
     When Bad Things Happen to Good Agencies: Risk Management = More than Just
             Training and Policies, Officer.com Online Magazine, July, 2008
     Not Training is Dumb: You Have to Train, or You’re Gonna’ get Hurt! Officer.com
             Online Magazine, June, 2008
     The Customers are Always Right, Even When They’re Wrong, PoliceMag.com Training
             Channel, June, 2008
     Technology is a Double-Edged Sword, Officer.com Online Magazine, June, 2008
     Familiarity Breeds Complacency, Officer.com Online Magazine, May, 2008
     The Technology Crutch, Officer.com Online Magazine, May, 2008
     The Meaning of Training Certification, PoliceMag.com Training Channel, April, 2008
     Don’t Stick Your Head in the Sand: It’s Called Risk Management for a Reason,
             Officer.com Online Magazine, April, 2008
     Teach with Less Talk, More Action, PoliceMag.com Training Channel, April, 2008
     Combined Skills Training, PoliceMag.com Training Channel, April, 2008
     What a Great Idea! Officer.com Online Magazine, April, 2008
     Work Safer, Get Sued Less! PoliceMag.com Training Channel, March, 2008
     Get Off the Couch – Join ILEETA! Officer.com Online Magazine, March, 2008
     Where Trainers Go to be Trained, PoliceMag.com Training Channel, March, 2008
     Training Videos are Great – When They Work, Officer.com Online Magazine,
             March, 2008
     What is a Trainer? PoliceMag.com Training Channel, February, 2008
     Train More? Train Less? Officer.com Online Magazine, February, 2008
     Danny, We Hardly Knew Ye, The ILEETA Review, February, 2008
     Solving Problems with PowerPoint and Video, PoliceMag.com Training Channel,
             February, 2008
     What’s Wrong with Using Electronic Control Devices? Officer.com Online Magazine,
             February, 2008
     Projector Blues, PoliceMag.com Training Channel, February, 2008
     Policies are NOT Rules, Officer.com Online Magazine, January, 2008
     Why We Don’t Need Firearms Instructors, PoliceMag.com Training Channel,
             January, 2008
     Aerosol Spray Weapon Refresher, Officer.com Online Magazine, January, 2008

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     SWAT & EOD Tactical Vehicle, Tactical Weapons, January, 2008

     GUEST LECTURER
     After Using Force, Now What? Surviving the Onslaught, International Law Enforcement
            Educators and Trainers Association (ILEETA), March, 2019
     Protecting the Protectors Instructor Course, International Law Enforcement Educators
            and Trainers Association (ILEETA), March, 2018
     Protecting the Protectors: The Role of the Trainer, International Law Enforcement
            Educators and Trainers Association (ILEETA), March, 2017
     Survive & Succeed: Saving Your Officers and Your Department, International Law
            Enforcement Educators and Trainers Association (ILEETA), April, 2015
     Stay Safe: It’s Time to Sweat the Small Stuff, International Law Enforcement Educators
            and Trainers Association (ILEETA), March, 2014
     Post-Traumatic Stress Disorder in Criminal Justice, CMI 2013 Client Education Day,
            November, 2013
     Protect Your People: Because Nobody Else Will, International Law Enforcement
            Educators and Trainers Association (ILEETA), April, 2013
     TASERs and the Law, National Rifle Association – Michigan Consumer Weekend,
            February, 2013
     Keep Your People Safe: On the Street, In the Jail, and In Court, International Law
            Enforcement Educators and Trainers Association (ILEETA), April, 2012
     Managing the Risks of Interjurisdictional Police Pursuits, Richmond Regional
            Multijurisdictional Pursuit Project, Policy Training Symposium, September, 2011
     Using Force: Words and Plans and Goals, Oh My! The 2011 Use of Force Summit,
            The Performance Institute, July, 2011
     Force Continuums, Training Priorities, and Smart Use of Force, The 2011 Use of Force
            Summit, The Performance Institute, July, 2011
     TASER, TASER, TASER! The 2011 Use of Force Summit, The Performance Institute,
            July, 2011
     Avoiding and Managing Arrest-Related Deaths, The 2011 Use of Force Summit,
            The Performance Institute, July, 2011
     TASER Download & Data Collection Practices, 2011 TASER Master Instructor School,
            TASER International, June, 2011
     Police Use of Force: TASERs and Other Options, Bancorp South Municipal Insurance
            Risk Control Program, Gulfport, Mississippi, May, 2011
     Smart Use of Force: In the Jail and On the Street, International Law Enforcement
            Educators and Trainers Association (ILEETA), April, 2011
     Defining Use of Force for Law Enforcement Professionals, The 2010 Conference on The
            Use of Force in Law Enforcement, The Performance Institute, June, 2010
     Current Shifts in the use of Use of Force Continuums, The 2010 Conference on The Use
            of Force in Law Enforcement, The Performance Institute, June, 2010
     Arrest-Related Death and the Use of Force, The 2010 Conference on The Use of Force in
            Law Enforcement, The Performance Institute, June, 2010
      CURRICULUM VITAE – STEVEN D. ASHLEY   TOC   PAGE 59   CASE NO. 2:17-CV-12752-GAD-MKM – 08/22/2019
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     Considerations for TASERs and Other Non-Lethal Devices, The 2010 Conference on The
             Use of Force in Law Enforcement, The Performance Institute, June, 2010
     Addressing Allegations of Police Misconduct, The 2010 Conference on The Use of Force
             in Law Enforcement, The Performance Institute, June, 2010
     Smart Use of Force, International Law Enforcement Educators and Trainers Association
             (ILEETA), April, 2010
     Defining Use of Force for Law Enforcement Professionals, The 2010 Conference on The
             Use of Force in Law Enforcement, The Performance Institute, January, 2010
     The Ramifications of In-Custody Death After the Use of Force, The 2010 Conference on
             The Use of Force in Law Enforcement, The Performance Institute, January, 2010
     The Great Debate: TASERs and Other Non-Lethal Devices – Are They Helping or
             Hurting? The 2010 Conference on The Use of Force in Law Enforcement,
             The Performance Institute, January, 2010
     Examining the Current Usage of, and Shifts in, the Use of Force Model, The 2010
             Conference on The Use of Force in Law Enforcement, The Performance Institute,
             January, 2010
     Evidence.com, AXON, and TASER Download & Data Collection Practices, 2009 TASER
             Master Instructor School, TASER International, July, 2009
     Live Long and Prosper: The Trainer as Risk Manager, International Law Enforcement
             Educators and Trainers Association (ILEETA), April, 2009
     Liability in the Use of Force, The 2008 National Summit on Use of Force in Law
             Enforcement, The Performance Institute, August, 2008
     TASER’s and Other “Less Lethal” Options, The 2008 National Summit on Use of Force
             in Law Enforcement, The Performance Institute, August, 2008
     Defining Use of Force, The 2008 National Summit on Use of Force in Law Enforcement,
             The Performance Institute, August, 2008
     TASER Download & Data Collection Practices, 2008 TASER Master Instructor School,
             TASER International, June, 2008
     Work Safer – Get Sued Less: Managing High Risk Activity, International Law
             Enforcement Educators and Trainers Association (ILEETA), April, 2008
     Managing the Risks of Non-Deadly Force, Detroit Police Department, Command &
             Legal Lecture Series, City of Detroit Law Department, March, 2008
     Assessing and Managing the Risk of Less Lethal Options, The 2007 National Summit on
             Use of Force in Law Enforcement, The Performance Institute, November, 2007
     TASER Usage – Risks & Rewards, The 2007 National Summit on Use of Force in Law
             Enforcement, The Performance Institute, November, 2007
     Defining Force for Ourselves, The 2007 National Summit on Use of Force in Law
             Enforcement, The Performance Institute, November, 2007
     Work Safer – Get Sued Less! 2007 Michigan NAFTO Conference, National Association
             of Field Training Officers, October, 2007
     Risk Management: Avoiding “Self-Inflicted Wounds”, 2007 TASER International
             Conference, TASER International, July, 2007


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     PowerPoint for the Law Enforcement Trainer, 2007 TASER Master Instructor School,
             TASER International, July, 2007
     TASER Usage – Risks & Rewards, The 2007 National Summit on Use of Force in Law
             Enforcement, The Performance Institute, May, 2007
     Defining Force for Ourselves, The 2007 National Summit on Use of Force in Law
             Enforcement, The Performance Institute, May, 2007
     Enhancing Safety & Reducing Liability: The Trainer is the Key, International Law
             Enforcement Educators and Trainers Association (ILEETA), April, 2007
     Motor Vehicle Pursuits: High Risk Issues for Trainers, International Law Enforcement
             Educators and Trainers Association (ILEETA), April, 2006
     Enhancing Safety & Reducing Liability: The Role of the Trainer, American Society of
             Law Enforcement Trainers, 19th Annual International Training Conference,
             January, 2006
     How to Set Up Your Own Website, International Law Enforcement Educators and
             Trainers Association (ILEETA), April, 2005
     Get on the Web!! Set Up Your Own Trainer’s Website, International Law Enforcement
             Educators and Trainers Association (ILEETA), April, 2004
     Managing Police Pursuit Risk, Richmond Regional Multijurisdictional Pursuit Project,
             Training Symposium, December, 2003
     Managing the Risks of Pursuit: Reducing Liability and the Potential for Officer Injuries,
             Association of Professional Law Enforcement Emergency Vehicle Response
             Trainers (ALERT, International), Annual Training Conference, September, 2003
     Dealing with High Risk Activity: Keeping Officers Safer While Reducing Liability,
             National Criminal Justice Training Council Annual Conference, April, 2003
     Risk Management and Civil Liability, Kellogg Community College, October, 2002
     Protecting Officers in High Risk Situations: Enhancing Safety and Reducing Liability,
             Wyoming Chiefs and Sheriffs Association, April, 2001
     Protecting Officers in High Risk Situations: The Role of the Trainer in Enhancing Safety
             and Reducing Liability, American Society of Law Enforcement Trainers, 14th
             Annual International Training Conference, January, 2001
     Managing High Risk Emergency Services Activity, Iowa League of Cities/ICAP, Annual
             Training Conference, June, 2000
     Managing High Risk Law Enforcement Activity: Use of Force, Pursuit, and Officer
             Safety, American Society of Law Enforcement Trainers, 13th Annual
             International Training Conference, January, 2000
     Managing the Risks of Volunteers, Public Risk Management Association (PRIMA),
             Annual Training Conference, June, 1999
     Force & Control: Risk Management Issues for Instructors, American Society of Law
             Enforcement Trainers, 12th Annual International Training Conference,
             January, 1999
     Civil Liability for Emergency Telecommunicators, Association of Public Safety
             Communication Officers - Michigan Chapter, Fall Training Conference,
             September, 1998


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     Supplemental Police Manpower: Necessary Evil or True Benefit? Public Risk
             Management Association (PRIMA), Annual Training Conference, June, 1998
     Law Enforcement Training: A Systematic Approach, Public Risk Management
             Association (PRIMA), Annual Training Conference, June, 1998
     Managing Risk in the Municipal Arena, 1998 Michigan Municipal Clerks Institute,
             East Lansing, Michigan, April, 1998
     Getting a Grip: The Management of High Risk Police Activities, Michigan Association of
             Chiefs of Police, Winter Training Conference, February, 1998
     Managing Force: Enhancing Safety & Reducing Risk, American Society of Law
             Enforcement Trainers, 11th Annual International Training Conference,
             January, 1998
     Law Enforcement Use of Force in the 21st Century, Illinois Risk Management
             Association, November, 1997
     Use of Force: Managing Risk & Safety, PPCT Management Systems International
             Training Conference, August, 1997
     Use of Force Management: Special Issues for Managers, Oklahoma Department of
             Corrections, July, 1997
     Control Challenges in the School Environment, Central Michigan University, Law
             Enforcement & School Liaison Program Institute, June, 1997
     Managing High Risk Law Enforcement Activity, Michigan Association of Chiefs of
             Police, Summer Training Conference, June, 1997
     Law Enforcement Post Incident Damage Control, Public Risk Management Association
             (PRIMA), Annual Training Conference, May, 1997
     Pursuit Management: Implementing a Control Continuum, American Society of Law
             Enforcement Trainers, 10th Annual International Training Conference,
             January, 1997
     Instructor Challenges in Use of Force Management, American Society of Law
             Enforcement Trainers, 10th Annual International Training Conference,
             January, 1997
     The Risks of Crossing the Border: Managing Interjurisdictional Exposures, Public Risk
             Management Association (PRIMA), Annual Training Conference, June, 1996
     Aerosol Weapons: Reducing Your Risks, Michigan Association of Chiefs of Police,
             Mid-Winter Training Conference, February, 1996
     Pursuit Management: Implementing a Control Continuum, American Society of Law
             Enforcement Trainers, 9th Annual International Training Conference,
             January, 1996
     Critical Incident Policy Management, Minnesota Sheriff’s Association Training
             Conference, December, 1995
     Use of Force Management for Supervisors, Upper Peninsula Law Enforcement
             Development Center, November, 1995
     Vehicle Operations Management, International Association of Chiefs of Police Training
             Conference, October, 1995



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     Total Control Management, PPCT Management Systems International Training
             Conference, August, 1995
     Police Administration and Risk Control, Ohio Municipal League Joint Self Insurance
             Pool, Annual Training Conference, June, 1995
     Effective Risk Manager/Law Enforcement Executive Relationships, Public Risk
             Management Association (PRIMA), Annual Training Conference, June, 1995
     Pursuit Management: Implementing a Control Continuum, Michigan Association of
             Chiefs of Police, Mid-Winter Training Conference, February, 1995
     Managing the Use of Force, American Society of Law Enforcement Trainers, 8th Annual
             International Training Conference, January, 1995
     Fundamentals of Risk Management, Wyoming Chiefs and Sheriffs Annual Conference,
             Wyoming Law Enforcement Academy, April, 1994
     Implementing Defensible Control Continuums, Law Enforcement Officers Regional
             Training Consortium, Flint, Michigan, March, 1994
     Deadly Force: The Importance of Management, Northern Michigan Law Enforcement
             Training Consortium, March, 1994
     Interjurisdictional Liability, Michigan Association of Chiefs of Police, Mid-Winter
             Training Conference, February, 1994
     Risk Control: Managing the Use of Force, American Society of Law Enforcement
             Trainers, 7th Annual International Training Conference, January, 1994
     Managing Force in a Correctional Setting, Minnesota Counties Insurance Trust,
             November, 1993
     Cross-Jurisdictional Liability Issues, Northern Michigan Association of Chiefs of Police,
             Annual Meeting, October, 1993
     Managing the Use of Force, PPCT Management Systems International Training
             Conference, August, 1993
     Managing Effective Police Training: Doing More with What You Have, Law
             Enforcement Officers Regional Training Consortium, May, 1993
     Managing Effective Police Training, Michigan Association of Chiefs of Police,
             Mid-Winter Training Conference, February, 1993
     Contemporary Use of Force Issues, Michigan Association of Chiefs of Police,
             Mid-Winter Training Conference, February, 1992
     Reducing Motor Vehicle Related Losses, Michigan Association of Chiefs of Police,
             Mid-Winter Training Conference, February, 1991

     TRAINING VIDEOS & MULTIMEDIA PRODUCTIONS
     Police Pursuit Driving, 30-minute video. Performance Dimensions, Inc.,
            Twin Lakes, Wisconsin, 1998.
     Precision Driving Decision System, 3-part training video. Governmental Risk
            Managers, 1991.




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     BOOK CHAPTER
     Plan to Train or Plan to Fail, W.I.N. 2: Insights into Training and Leading Warriors,
            Edited by Brian R. Willis, Warrior Spirit Books, Calgary, Alberta CA, 2009.




            August 22, 2019
                   DATE                                     STEVEN D. ASHLEY, MSC, MLS, ARM/P, AFSS, INCI
                                                                          MONROE, MICHIGAN




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     EXHIBIT III – PRIOR TESTIMONY
                                           Last Reviewed/Updated August 22, 2019


     LAW ENFORCEMENT & CRIMINAL COURTS
     During 15 years of active duty law enforcement service, I offered testimony, depositions,
     and affidavits, in State District Courts, State Circuit Courts, State Probate and Juvenile
     Courts, and various other Hearings and Tribunals, in cases too numerous to list.

     EXPERT COURT TESTIMONY (WITHIN THE PAST FOUR YEARS)
     While I have provided expert consultation and review in more than 170 cases, I have
     testified and/or been deposed 47 times in 41 cases since 1994. The following are cases in
     which I have testified at deposition, hearing, or trial, in the past four years.

       2019 – Cassandra Luster, individually, and A/N/F of _______________ a minor child,
              Damon Luster, Desmond Luster, Jr.; Beverly Diana Luster, individually, and as
              Administrator of the Estate of Desmond Luster, Sr., Plaintiffs, v. The City of
              Dallas, et al., Defendants. United States District Court for the Northern District
              of Texas, Dallas Division. Civil Action Number 3:16-cv-00396-B. I testified at
              trial as an expert witness on behalf of the Defendants. This was a police
              excessive use of force/deadly force case.
       2018 – Syndel Kabchef, Plaintiff, v. Pickens County Sheriff Donnie Craig, Individually
              and in his capacity as Sheriff of Pickens County and Deputy Sheriff Rick Hales,
              individually and in his official capacity as a Pickens County Deputy Sheriff,
              Defendants, Quik Trip Corporation, Defendant by Counterclaim. Superior Court
              of Pickens County, State of Georgia. Civil Action File Number 2017 SUCV 76.
              I was deposed as an expert witness on behalf of the Defendant Quik Trip
              Corporation and the Plaintiff, Syndel Kabchef. This was a police emergency
              vehicle operations/collision case.
       2018 – Cassandra Luster, individually, and A/N/F of _______________ a minor child,
              Damon Luster, Desmond Luster, Jr.; Beverly Diana Luster, individually, and as
              Administrator of the Estate of Desmond Luster, Sr., Plaintiffs, v. The City of
              Dallas, et al., Defendants. United States District Court for the Northern District
              of Texas, Dallas Division. Civil Action Number 3:16-cv-00396-B. I was
              deposed as an expert witness on behalf of the Defendants. This was a police
              excessive use of force/deadly force case.
       2018 – Christopher Cantu, as the Administrator of the Estate of Robert Earl Lawrence,
              Plaintiff, v. City of Dothan, Alabama, Greg Benton, Chris Summerlin, and
              Adrianne Woodruff, Defendants. United States District Court for the Middle
              District of Alabama, Southern Division. Case Number 1:16-cv-01003-MHT. I
              was deposed as an expert witness on behalf of the Defendants. This was a police
              excessive use of force/deadly force case.
       2017 – Collette L. Flanagan, individually, and on behalf of the Estate of Clinton Allen,
              Deceased; and Ronderaline S. Allen, individually, Plaintiffs, v. The City of

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                Dallas, Texas; and Clark Staller, Defendants. United States District Court for
                the Northern District of Texas, Dallas Division. Case Number
                3:13-cv-04231-M. I testified at trial as an expert witness on behalf of the
                defense. This was a police excessive use of force/deadly force case.
       2017 – A.M., A Minor, by his parents and natural guardians, Audley Muschette and
              Judith Muschette, Plaintiff, v. American School for the Deaf, Town of West
              Hartford, Paul W. Gionfriddo in his individual and official capacities, Chris
              Hammond in his individual and official capacities, Elwin Espinoza in his
              individual and official capacities, Defendants. United States District Court for
              the District of Connecticut. Case Number 3:13-cv-01337-WWE. I was deposed
              as an expert witness on behalf of the Plaintiff. This was a police excessive use
              of force/police practices case.
       2016 – Collette L. Flanagan, individually, and on behalf of the Estate of Clinton Allen,
              Deceased; and Ronderaline S. Allen, individually, Plaintiffs, v. The City of
              Dallas, Texas; and Clark Staller, Defendants. United States District Court for
              the Northern District of Texas, Dallas Division. Case Number
              3:13-cv-04231-M. I was deposed as an expert witness on behalf of the defense.
              This was a police excessive use of force/deadly force case.
       2016 – Lameco M. Williams, Plaintiff, v. City of Birmingham, a Municipal
              Corporation; Nathan Elmore, an individual; Jeffrey Sanders, an individual;
              Ashley Knighten, an individual; Jacob McDonald, an individual; Lane Harper,
              an individual; Arthur Wilder, an individual; Christopher Hayes, an individual;
              Curtis Mitchell, an individual; Cedric Stevens, an individual; A.C. Roper, an
              individual, Defendants. United States District Court for the Northern District of
              Alabama, Southern Division. Case Number 2:15-cv-00949-AKK. I was deposed
              as an expert witness on behalf of the defense. This was a police excessive use of
              force case.
       2015 – Cris Christenson, Plaintiff, v. City of Joplin, Missouri; Corporal Shawn
              Dodson; Officer Steven Feken; Officer John Watkins; Freeman Health System;
              Defendants. United States District Court for the Western District of Missouri.
              Case Number 3:13-cv-05073-DPR. I was deposed as an expert witness on
              behalf of the Plaintiff. This was a police false arrest/excessive use of force case.
       2015 – City of Romulus / Michigan Police Officers Labor Council (POLC) – Turner
              Discipline. Unknown Case Number. A Labor Arbitration Hearing. I testified as
              an expert witness on behalf of the City of Romulus (Michigan) against a
              Romulus (Michigan) Police Officer who was demoted and accused of excessive
              force in a police TASER case.
       2015 – Katherine Thomas, individually, and as the administrator of the estate of
              Christopher Jerome Thomas; Plaintiff, v. Darren Moody, in his individual
              capacity; and City of Dothan, Alabama; Defendants. United States District
              Court for the Middle District of Alabama, Southern Division. Case Number
              1:13-cv-920-WHA-SRW. I was deposed as an expert witness on behalf of the
              Defendant. This was a police pursuit/shooting/excessive use of force case.


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       2015 – Kelvion Walker, Plaintiff, v. Amy Wilburn, Defendant. United States District
              Court for the Northern District of Texas, Dallas Division. Civil Action Number
              3:13-cv-04896-D. I was deposed as an expert witness on behalf of the
              Defendant. This was a police shooting/excessive use of force case.




            August 22, 2019
                   DATE                                    STEVEN D. ASHLEY, MSC, MLS, ARM/P, AFSS, INCI
                                                                         MONROE, MICHIGAN




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     EXHIBIT IV – FEE SCHEDULE
                                        Last Reviewed/Updated August 22, 2019

                          ALL AMOUNTS ARE IN ADDITION TO EXPENSES

      Initial Telephone Consultation                                                             No Charge
      Advance Retainer (Non-Refundable, Billed Against on Hourly Basis)                      Waived/Billed
      Review of Records and Analysis                                                              $150/hour
      Preparation of Report, Including Research                                                   $150/hour
      Meetings with Counsel, Site Visits, etc.                                                    $150/hour
      Deposition (minimum of 6 hours per day)                                                     $200/hour
      Trial or Hearing (minimum of 6 hours per day)                                               $200/hour
      Travel Time, Portal to Portal (maximum of 12 hours per day)                                   $75/hour
      Expedite Fee (requested with 7 to 14-day notice)                                               $500.00
      Expedite Fee (requested with less than 7 days’ notice)                                      $1,000.00
      Cancellation of Deposition/Hearing/Trial – 7 days or less notice                            $1,500.00
      Cancellation of Deposition/Hearing/Trial – 8 to 14-day notice                               $1,000.00
      Cancellation of Deposition/Hearing/Trial – more than 14 days’ notice                       No Charge
     PLEASE NOTE:
     Should you engage my services, I will provide services to you as an independent
     professional. Payment to me for the services I provide is not dependent upon my findings,
     or upon the outcome of any legal action, mediation, or arbitration; or the amount or terms
     of any settlement of the underlying legal cause, nor upon any contractual arrangement or
     other agreement between plaintiff and/or defense counsel and any other person or party.
     You may not identify me as either a testifying or non-testifying expert until such time as
     any engagement fee has been paid or specific arrangements have been made and agreed
     to – in writing – by me.
     All amounts (including any retainer) are in addition to expenses, which include those
     items that are customary, including – but not limited to – business class airfare, hotel,
     rental vehicle (full-size), meals, parking fees, and mileage (at the current IRS rate).
     Should you engage my services, my relationship is with you. You are responsible for all
     payments as outlined in this Fee Schedule, regardless of any arrangement you may have
     with any party or parties you represent, including deposition fees originating from
     opposing counsel. If engaged, I will issue bills on a monthly basis, or whatever other
     interval I deem appropriate. Bills are due on receipt, and shall be considered delinquent if
     unpaid more than thirty (30) days after their date of issuance. Interest shall accrue to any
     delinquent balance at the maximum rate permitted by law, not to exceed 1.5 per cent per
     month.
            August 22, 2019
                   DATE                                       STEVEN D. ASHLEY, MSC, MLS, ARM/P, AFSS, INCI
                                                                            MONROE, MICHIGAN


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